                Case 8:18-cv-01821-JGB-JC Document 1 Filed 10/10/18 Page 1 of 44 Page ID #:1

          S~rT'~~~~ E~~C Gc t.r~
        NAME                                                                                                           /
                                                                                                                       1

              5~~~          r
        PRISON IDENTIFICATION/BOOKING NO.
                                                                                                                  ~
                                                                                                                  ti   J



         ~O                     ~ow~                     lin ~                 ~ t
        ADDRESS OR PLACE OF CONFINEMENT                                                                      Q Q/
                                                                                                           J~

        Note:      It is your responsibility to notify the Clerk of Court in writing of any
                   change of address. If represented by an attorney, provide his name,
                   address, telephone and facsimile numbers,and e-mail address.

                                                          UNITED STATES DISTRICT COURT
                                                         CENTRAL DISTRICT OF CALIFORNIA
                                                                                              CASE NUMBER:

                                                                                                 CV                     ~~            •'
                 ~'E N EC~C G~~t LD
        FULL NAME (I~iclude nnme under x~hich you were convicted)
                                                                                                       To be supplied by the Clerk of the United States District Court

                                                                              Petitioner,

                                                v.
                                                                                                                                             AMENDED
        PE~L~ offiHE S~~IT~
                                                                                                   PETITION FOR WRIT OF HABEAS CORPUS
                                                                                                      BY A PERSON IN STATE CUSTODY
~     NAMF ~N~DEN.SUPERINTENDENT,JAILOR OR AUTHORIZED
                                                                                                               28 U.S.C. 4 2254
~ 0~~ PERSON HAVING CUSTODY OF PETITIONER
             f2A~,,C-- ~C aE(V-~'~                                         despondent.        tLACE/COUNTY OF CONVICTION Q             ~G~
                                                                                              PREVIOUSLY FILED, RELATED CASES IN THIS DISTRICT COURT
                                                                                              (List by case number)
                                                                                              CV        ~ oIS ~Vt~a~o6 -~-~'G~3ti7'~C
                                                                                              CV

                                                 INSTRUCTIONS -PLEASE READ CAREFULLY
            1. To use this form, you must be a person who either is currently serving a sentence under a judgment against you in a California
      state court, or will be serving a sentence in the future under a judgment against you in a California state court. You are asking for relief
      from the conviction and/or the sentence. This form is your petition for relief.
            2. In this petition, you may challenge the judgment entered by only one California state court. If you want to challenge the judgment
       entered by a different California state court, you must file a separate petition.
            3. Make surd the form is typed or neatly handwritten. You must tell the truth and sign the form. If you make a false statement of
       a material fact, you may be prosecuted for perjury.
            4. Answer all the questions. You do not need to cite case law, but you do need to state the federal legal theory and operative facts
       in support of each ground. You may submit additional pages if necessary. If you do not fill out the form properly, you will be asked to
       submit additional or correct information. If you want to submit a legal brief or arguments, you may attach a separate memorandum.
            5. You must include in this petition all the grounds for relief from the conviction and/or sentence that you challenge. And you
       must state the facts that support each ground. If you fail to set forth all the grounds in this petition, you maybe barred from presenting
       additional grounds at a later date.
           6. You must pay a fee of $5.00. If the fee is paid, your petition will be filed. If you cannot afford the fee, you may ask to proceed
       informa pauperis (as a poor person). To do that, you must fill out and sign the declaration of the last two pages of the form. Also, you
       must have an authorized officer at the penal institution complete the certificate as to the amount of money and securities on deposit to
       your credit in any account at the institution. If your prison account exceeds $25.00, you must pay the filing fee.
            7. When you have completed the form,send the original and two copies to the following addr                        UJ~~~
                                    Clerk of the United States District Court for the Central District of Califor is        U
                                    United States Courthouse
                                    ATTN: Intake/Docket Section                                                       ~   OC'~ ~ Q 2~t$
                                    312 North Spring Street
                                    Los Angeles, California 90012                                                                       ~~eqp~


       CV-69 (05/ l2)           PETITION FOR WRIT OF HABEAS CORPUS BY A PERSON IN STATE CUSTODY (28 U.S.0 4 2250                                                  Page 1 of 11
                                                   fi
                              `C~~~~t v't~'l t
        Case 8:18-cv-01821-JGB-JC Document 1 Filed 10/10/18 Page 2 of 44 Page ID #:2
PLEASE COMPLETE THE FOLLOWING:(Check appropriate number)

   This petition concerns:
   1. ~[a conviction and/or sentence.
   2. ❑prison discipline.
   3. ❑ a parole problem.
   4. ❑other.

                                                                 PETITION

   1. Venue
                                                                                              a      ~                      ~ #
         a. Place of detention                D               ~D       Gl                                           atC E
         b. Place of conviction and sentence                            ~              p~                             ~ -'            l   ~o
                                                       c~' ramie Cs c~e~r.►-f~i~ f T~s'f~~.ce.r~.~-+e,~
                                                                                                    ` .
                                                           ~Q1~.S               W~ 1 !7 ~II ~~~"~ a1S~ I'~C~
                                                                                                           Cc `~Aih~
   2.    Conviction on which the petition is base          (a separate petition must be~Iedfor each convictiof~ bei►ig attacked).

         a.     Nature of offenses involved ~rn~~ude a►i ~ouf~rs~ : ~       a         ~                                             ~~e

                _,~ v t r►~
         b. Penal or other code section or sections:            ~ gQ0« ~,                           ~C             ~~~~I~ ~pp~~




         c.     Case number: r ~ ~~'[
                                         ~•~srf•
         d. Date of conviction: ~ C~ .— ~ ~ ~.. ~~~ ~"#
         e. Date of sentence:             ~ ~~ ~,~'-~             ~~
         f.     Length of sentence on each count: ~ ~,~~~'


         g.     Plea (check one)

                ❑ Not guilty

                   Guilty

                ❑ Nolo contendere
         ~'1.   K1I1C~ Of trial (check one)

                ❑ Jury
                ❑ Judge only


   3. Did you appeal to the California Court of Appeal from the judgment of conviction?                                       ~Yes ❑ No
         If so, give the following information for your appeal hand arra~h a ropy ofthe Court of Appeal decision rfavailable):
         a. Case number: (;c~ ~6sr ar .:~~ ~i~~-i►~..~.                                        .,~~... ~1~.'-Fls              ~',..~.~.~
         Q Grounds raised ~~~sr en~h~ :                                                                                                           "
                (1) Z        e.a          S~v~      ~n Ge ~~t~~               !r►a 1~aXi tee►                                               r              c
                (2) _                 ~       ate

 -69 (U~/ l2)             PETITION FOR WRIT OF H,~BEAS CARPUS BY A PERSON IN STATE CUSTODY (28 U.S.0 4 ~5=~)                               Page 2 of~l l
         Case 8:18-cv-01821-JGB-JC Document 1 Filed 10/10/18 Page 3 of 44 Page ID #:3
                 (3)
                  ~4)
                  ~5)
                (6)
          c. Date of decision:               O          +--~         ~ ~*
          d. Result           ~p ~.~P                    ~~.:-~'~~.... `'~"'" to ~.~•.~..~:




     4    If you did appeal, did you also file a Petition for Review with the California Supreme Court of the Court of Appeal
          decision?             Yes       ❑ No
          If so give the following information               (and attach copies ofthe Petitionfor Revie~,~ arld the Supreme Court ruling ifnvailn6le)

          a. Case number:~ ~ S~ ~ ~~=pe,~'j~'40~~~r-l2ev~~er~                                                                            w/Nab~e..as~~Ol
          b. Grounds raised ~itsr ~~~h~

                 ~1~        e ~              f                                                                                cry
                (2)        ~                                                                                           a

                (4)                                                                                              ~                                                  ~
                (s)
                 ~6~                         ~                                 .                             •                       •              ~
                                                                                                                                                                            ~«
         c. Date of decision: ~~ —'~ ~~                                 ["~ 1 ~
          d. Resi




     5. If you did not appeal:
         a.      State your reasons




         b. Did you seek permission to file a late appeal?                           ❑Yes         ❑ No



    6. Have you previously filed any habeas petitions in any state court with respect to this judgment of conviction?
              Yes        ❑ No
         If SO, give the following information for each such petition (use ndd~rrona~ pages tf necessary, acid attach copies ofthe petitions and the

         rulings on the petitions if available):

         a. (1) Name of court:                                            ~Q                     d      ~
                (2) Case number:                   —,                                                                ~~                    ~~„S"        ~               ~'~"a~,
                (3) Date filed ~o,~f mailed, the date the petition r+~as turned over to the prison nuthori[iesfvr mailing):    ~~ r~~11~2~ ~g

CV-6y (0~/l?)               PETITION FOR WRIT OE HABEAS CORPUS BY A PERSON IN STATE CUSTODY (28 U.S.0 4 ~25~!)                                              Page 3 of 1 L
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                          ,̀~ d"`~ X71(t/lGl 1
                                   - J
           Case 8:18-cv-01821-JGB-JC Document 1 Filed 10/10/18 Page 4 of 44 Page ID #:4
                  (4) Grounds raised ~~~Sr en~h~
                          (a)
                          (b)
                          (c)
                          (d)
                          (e)
                           ~~
                  (5) Date of decision: Q.~'"
                                            (~"ZQj
                  (6) Result              Qr          ~                     Q~l C             ~,                                           s                  9

                  (7) Was an evidentiary hearing held?                       ❑ Yes ~No


           b.     (1) Name of court: t-- optrTh                        f-~I~t~e./larT~ L••~1YTC~f"~1io1~e.~
                                                                                                     T
                                                                                                           [
                  (2) Case number: ~ O J~~'S'C'9 =                                                                    '~""
                                                                                     E„ ~ *7 Ian                vy-~i'
                                                                                                                     -             -   ~,f'+1S ~pr,s$-
                  (3) Date filed for tf mailed, the date the petition was turned over to the prison authoritiesfor mailing):   ~~'"~~ "'~~g

                  (4) Grounds raised (1~sr each):

                          (a)
                          (b)
                          (c)
                          (d)
                          (e)

                           ~fl
                  (5) Date of c
                  (6) Result


                  (7) Was an evidentiary hearing held?                       ❑Yes         ~To


           c. (1) Name of court: ,S~                                   e.                                   ~                  O
                  (2) Case number: S2~~~'~3~~itI01~~1~~~.V~~1N~-~nfr~                                                                              a~~
                  (3) Date filed for ~f mailed, the date the petition was turned over to the prison authoritiesfor mailing):   ~ g~~~. ~~ `

                  (4) Grounds raised ~~►sr ea~hJ


                   Cam, (`)

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                  (c~ (~)
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CV -69 (05/ l2)
                                                              `t                    '~t
                              PETITION FOR WRIT OF HABEAS CORPUS BY A PERS0~1 IN STATE CUSTODY (28 U.S.0 4 2250                                Page 4 of 11
                              \1~~~~   ~   ~      (/
                                          c ~ot~
          Case 8:18-cv-01821-JGB-JC Document 1 Filed 10/10/18 Page 5 of 44 Page ID #:5
                  (5) Date of d
                  (6) Result



                  (7) Was an evidentiary hearing held?        ❑Yes ~$No


     7. Did you file a petition for certiorari in the United States Supreme Court?                    ❑ Yes       ~ No
                       If yes, answer the following:
                      (1) Docket or case number (if you know):
                      (2) Result:


                      (3) Date of result (if you know):
                      (4) Citation to the case (if you know):



     8. For this petition, state every ground on which you claim that you are being held in violation of the Constitution,
           laws, or treaties of the United States. Attach additional pages if you have more than five grounds. Summarize
           briefly the facts supporting each ground. For example, if you are claiming ineffective assistance of counsel, you
           must state facts specifically setting forth what your attorney did or failed to do.
           CAUTION:            Exhaicstion Regicirement: In order to proceed in federal court, you must ordinarily first exhaust
                               your state court remedies with respect to each ground on which you are requesting relief from the
                               federal court. This means that, prior to seeking relief from the federal court, you first must
                               present all of your rounds to the California Supreme Court.
                               (.J~.~~ COM~It~~iOVI ~Ir~''I~Md~Y'tGM'i~~ ~~'~ V ~t ~+ ~-~ s
                                                   ~                 w                     ~* •t
           a.      Ground one: .T w.~: c~ ~~~ '~'~~[7~f` pirr~nS~_t~~ fib G►f~iC~?/1e .~f' 7~/ /                            ~0

                   ..S~a         ~a      f S O'~.1 t~r't,Sv~ 1 ale C~K ~~~~
                   (1) Supporting FACTS: ~ ~" "~'~ ~ ~~pr jq~ ~           O




                   (2) Did you raise this claim on direct appeal to the California Court of Appeal?           ❑Yes     ~No
                  (3) Did you raise this claim in a Petition for Review to the California Supreme Court?      ~ Yes     ❑No
                                                                                                                 Yes    ❑No
                      4~oRb~~ s ~,E:.~'~~`tov~ ~'+~ b~t~'''
                  (4) Did you raise this claim in a habeas petition to the Califo nia Su reme Court?~
                                                                                      wr              f~►~~ ~'or to`~.,`+~t ~C.~~
           b. Ground two: ,,t:/~:s ,~O~                V~"t~4~'/~r~~              `        1~~         Y art~t    ~"~/


                   (1) Supporting FACTS:
                                                                              R




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CV -69 (0~! 12)            PETITION FOR WRIT OF HABEAS CORPUS BY A PERSON IN STATE CUSTODY (28 U.S.0 4 2250            Page S of I1

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           Case 8:18-cv-01821-JGB-JC Document 1 Filed 10/10/18 Page 6 of 44 Page ID #:6




                   (2) Did you raise this claim on direct appeal to the California Court of Appeal?              ❑Yes       ~No
                   (3) Did you raise this claim in a Petition for Review to the California Supreme Court?          Yes      ❑ No
                   (4) Did you raise this claim in a habeas petition to the California Supreme Court?              Yes      ❑ No
                                  t~l S GOI~S'E"i'~'►~"~IO11~ o~w~+eYlo~1'r~~N'f3': ~U~,'~y X~~/
           c.




                                                                                                                                       * ~
                                                                                                                                             C. ~
                   (2) Did you raise this claim n~lire appeal to the California Court of Appeal?                   Yes      ❑No
                                                ~i~4~~5`aor~~ws
                   (3) Did you raise this claim in a Petition for Review to the California Supreme Court?          Yes      ❑No
                   (4) Did you raise this claim in a habeas petition to the California Supreme Caurt?              ,Yes     ❑Noy
                       '~#~~,~ ~~'~O'~ ~~
                       ~                                                 i~~'~i"               ~~'~"~'~"~tov► ~-                ~ t mow.
            d. Ground four: ~S ~~~~~                         ~~ ~,~~~~~~                                             ~~~




                           s




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                   (2) Did you raise this claim on 'rec appeal to the California Court of Appeal?                (' Yes     ❑ No
                                                              ~~~~p~
                   (3) Did you raise this claim in a Petition or Revie~to the California Supreme Court?             Yes     ❑ ~No
                   (4) Did you raise this claim in a habeas petition to the California Supreme Court?              ,Yes     ❑ No
                         ~a~@aS 1~1 ~'~Eo iY+►.~~V!~t ~'                    .~ w ~'~~,~ ~.'~"~'~''1Orr1          ~V"" 1   .1 '1~..' .
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                    Ground five: ~~ ~'"~              "~-~°°'~"i ~~ C~1►I~vh~l~           ~Ir'~~"`.~        ~~              _„~~~
                     pc.► ~,. ~ ~L. d...~ ~..'f"`r~ ~t~~_~e~.s ~a►wos wr~`~"~et~ -~o ~- ~$off.~.V.C..
                    (1) Supporting FACTS:

                                                                        •    1 .a...t




                    (2) Did you raise this claim on direct appeal to the California Court of Appeal?                Yes      ~No
                                                ~► ~~~~~ s carpM,s                                 T ~, ,
CV -69 (05/ l 2)            PETITION FOR WRIT OF HABEAS CORPUS BY A PERSON IN STATE CUSTODY (28 U.S.0 9 225=4j              Page 6 of 11
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         Case 8:18-cv-01821-JGB-JC Document 1 Filed 10/10/18 Page 7 of 44 Page ID #:7
                 (3) Did you raise this claim in a Petition for Review to the California Supreme Court?                                     ~'es              ❑No

             (4) Did you raise this claim in a habeas petition to the California Supreme Court?                                                  Yes          ❑No
                      ~► Hab~~ p~.tit'tierr 5w b►+~~'f '-~-~e.d w ~' f'~ ~► ~►f'r'~oar ~csr v~~..~icw~
    9. If any of the grounds listed in paragraph 7 were not previously presented to the California Supreme Court, state
         briefly which .grounds were not presented, and give your_reasons:




     10. Have you previously filed any habeas petitions in any federal court with respect to this judgment of conviction?
          ❑ Yes          ~No
          If so, give the following information for each such petition                       (use additional pages if necessary, and attach copies ofthe petitions and

          the rulings on the petitions ifavailaGle):

          a. (1) Name of court:
                 (2) Case number:
                 (3) Date filed for ~f mailed, the date the petition was turned over to the prison authoritiesfor moiling):
                 (4) Grounds raised (~~~r ea~h~:
                         (a)
                         (b)
                          ~~)
                         (d)
                          fie)
                          ~~
                 (S) Date of decision:
                 (6) Result


                 (7) Was an evidentiary hearing held?                       ❑Yes ❑ No


          b. (1) Name of court:
                 (2) Case number:
                 (3) Date filed (or.f mailed, the date the petition was turned over to the prison authoritiesfor mailing):
                 (4) Grounds raised <<»r each):
                         (a)
                         (b)
                         (c)
                         (d)
                         (e)
                           ~~
                 (5) Date of decision:
C~'-69 (OS/12j               PETITIOti FOR WRIT OF HABEAS CORPUS BY A PERSON IN STATE CUSTODY(28 U.S.0 4 2254)                                                 Page 7 of 11

                         V         =~
         Case 8:18-cv-01821-JGB-JC Document 1 Filed 10/10/18 Page 8 of 44 Page ID #:8
                (6) Result


                (7) Was an evidentiary hearing held?                        ❑Yes ❑ No


    11. Do you have any petitions now pending (i.e., filed but not yet decided) in any state or federal court with respect to
         this judgment of conviction?                       ❑Yes          ($~No
         If So, give the following information hand anal, a ropy ofthe per~r;on :favailable):

                (1) Name of court:
                (2) Case number:
                (3) Date filed (or ►f »sailed, the date the petition was turned over to the prison authorities for mailing):
                 (4) Grounds raised <<<sr ea~h~:
                       ~a~

                         (b)
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                         (d)
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    12. Are you presently represented by counsel?                           ❑Yes ~No
                                                                                      ~e.e. L~~.E~~                                                     .~
         ~          /~Vrr. ....~ ~        r ...v ter.. o      iuu~    _   . .~                      _~ I       ,/
                                                                                                                ,


                                                                                                                               ~   ~~
                                                                                                            ~~. ~                               a




    WHEREFORE, petitioner prays that the Court grant petitioner relief to which he maybe entitled in this proceeding,




                                                                                           Signature ofAttorney (ifany)



    I declare (or certify, verify,nor state) under penalty of perjury that the foregoing is true and correct.




    Executed on ~ Q~—a~ —2„~~
                                        Date




CV-69 (OS/1?)               PETITION FOR WRIT OF HABEAS CORP[,~S BY A PERS0:~1 I:~' STATE CUSTODY (28 L.S.0 4 2254)                     Page 8 of I l
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         Case 8:18-cv-01821-JGB-JC Document 1 Filed 10/10/18 Page 9 of 44 Page ID #:9




                           Petitioner
  ~Eo1~L.~ oFT~STA"~~                                                      DECLARATION IN SUPPORT.
                                                                                  OF REQUEST
      F C1`~ L.~`F~12~.~1~-~                                                      TO PROCEED
                         Respondents)
                                                                              IN FORMA PAUPERIS


    I, ~~~~j'~~~C ~p~((,....~ ,declare that I am the petitioner in the above entitled case;
that in support of my motion to proceed without being required to prepay fees, costs or give security therefor, I state that
because of my poverty I am unable to pay the costs of said proceeding or to give security therefor; that I believe I am
entitled to relief.


1. Are you presently employed? ❑Yes          ~No


    a. If the answer is yes, state the amount of your salary or wages per month,and give the name and address of your
         employer.


    b. If the answer is no, state the date oflast employment and the amount of the salary and wages per month which
         you received.


2. Have you received, within the past twelve months, any money from any of the following sources?
    a. Business, profession or form ofself-employment?         ❑Yes      ~To

    b. Rent payments, interest or dividends?                   ❑Yes       ~No

    c. Pensions, annuities or life insurance payments?         ❑Yes       ~No

    d. Gifts or inheritances?                                  ❑Yes      ~No

    e. Any other sources?                                      ❑Yes       ~No


    If the answer to any of the above is yes, describe each source of money and state the amount received from each
    during the past twelve months:




3. Do you own any cash, or do you have money in a checking or savings account? (Include anyfunds in prison accounts)
    ❑ Yes      ~No


CV-69(05/12)          PETITION FOR WRIT OF HABEAS CORPUS BY A PERSON INSTATE CUSTODY(28 U.S.0 4 2254)              Page 10 of 11
                      ~~ Otr`c9i met r ~~
       Case 8:18-cv-01821-JGB-JC Document 1 Filed 10/10/18 Page 10 of 44 Page ID #:10
    If the answer is yes, state the total value of the items owned:




4. Do you own any real estate, stocks, bonds, notes, automobiles, or other valuable property? (Excluding ordinary
    householdfurnishings and clothing) ❑Yes      ~To

    If the answer is yes, describe the property and state its approximate value:




5. List the persons who are dependent upon you for support,state your relationship to those persons, and indicate how
    much you contribute toward their support: ~ y ~'~qHG~ a~ -f-~~-y SoHS




    I, declare (or certify, verify or state) under penalty of perjury that the foregoin is true and correct.
    Executed on     Q ~Q ~ --20($
                           Date                                             Signature ofPetitioner




                                                      CERTIFICATE
    I hereby certify that the Petitioner herein has the sum of$       O                                    on account to his credit
at the Corr,e.~c,-~—~vv~ ~ Ti~~.~,,,;         ,
                                              , ~~.~c i jifi       st                                   institution where he is

confined. I further certify that Petitioner likewise has the following securities to his credit according to the records of said
institution:




                   Date                                                   A~tfhorized Officer ofInstitution/Title of Officer




CV-69(05/12)         PETITION FOR WRIT OF HABEAS CORPUS BY A PERSON IN STATE CUSTODY(28 U.S.0 4 2254)                          Page 11 of 11
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         Case 8:18-cv-01821-JGB-JC Document 1 Filed 10/10/18 Page 13 of 44 Page ID #:13



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             ~ ~l~E 1`~ ~2~C ~ C~ tit._-1~                                              PETITION FOR WRIT OF HABEAS
                                                                                                                                    CORPUS
    Petitioner
                                                                                 N o.
                                   vs.
                                                                                               (To be supplied by the Clerk ofthe
                                                                                                                                    Court}
    Respondent


                                              lNSTRUCT[OI`dS—RcAD CAREFULLY
      • I` you are cF;ali~n^ing an order of ~omrnitm?nt or
                                                              a criminal conviction and are filing this
        Superior Cour~, yon s;-~ould fii~ it .n the county                                              petition in the
                                                           that madz thz order.

      • I. you a;? ci-~3l~~nying the conditions e` your
                                                        confinement and are filing this petition
        you sh~ul~ fifa it in she county in which you are                                        in the Suaerior Court
                                                           confined.                                                   ,


 • R~a~ the ent;r~ ror,^~ bafora ars~~~ering ar,y questions.

 • This petition must be cl~~~.y hand~n;rit:en in ink or typed.
                                                                You should ex~rci;e care to makz sure all answe
   6~ca~se the rettien irc!~:des a v2~iiiCa`:on, the making of                                                  rs are truQ and correct.
                                                                 a statement that you know is false may result in
                                                                                                                  a convictior. for perjury.
   Answer all applicacle questions in the proper spaces. I` you
                                                                   need adCitional space, add an extra page and
   ans~rier is "continued on addition! page."                                                                     indicate that your,

 • If you arz filing this petition in the sup?rior cour~, you only
                                                                   need to file the original unless local riles require
   courts require more copies.                                                                                          additional copies. litany

• If you are filing this petition in the Court of Appeal in paper
                                                                   form and you are an attorney, file the original and
  and, if separatzly bound, 1 set of any supporting documents                                                          4 copies of the petitio
                                                                     (unless the court orders otherwise by local rule                           n
  you are filing this petition in the Court of Appaa! electronically                                                   or in a specific case). If
                                                                       and you are an attorney, follow the requiremen
  court for elec'.ronicall/ filed documents. If you are filing this petitio                                            ts of the local rules of
                                                                            n in the Court of Appeal and you are not
  attorne/, file the or;ginal and one set of any supporting docum                                                    represented by an
                                                                      ents.
• If you are filing this petition in the California Supreme Court
                                                                  , fila the original and 10 copies of the petition and,
  an original and 2 copies of any supporting documents.                                                                  if separately bound,
                                                                                    _ -~
• Notify the Clerk of the Court in v~,riting if you charge your
                                                                address after filing your petition.

  A~pro~~ed by the Judicial Co~ncif of California fcr use under rule E.330
                                                                           of the California Rules of Court (as amend
  January 1, 2007). Subs~q~en: amendments to rule 8.38G may                                                           ed effective
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  and Court of Appeal.                                                                                             the Supreme Court



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Fort„~.aa,:,~~~~,;,~u,~]I ~.,:~              PETITION FOR WRIT OF HABEAS CORPUS
J„d~ciai Ccurc:l ~f Cali!or^.ia
MG275 ;P.ev. January 1.27'7J
                                                                                                                               Pena~~~de,§1477 at seq.,
                                                                                                                             Cal R~,les o~ rour„
                                                                                                                                                 rule 9 330
                                                                                                                                       ~~ rC'J11i.~3 '~C%
       Case 8:18-cv-01821-JGB-JC Document 1 Filed 10/10/18 Page 15 of 44 Page ID #:15



       This petition concerns:
                                                                                                                                          h1C-275
                      A conviction                           ~]Parole

                      A sentence
                                                            0 Credi~s
          [~ Jail or prison conditions
                                                             ~]Prison discipline

           0 Other(spec;fjJ:

     1. Your name: ~ ) E
                               ~~~ C~'~ ~C ~ja~
                                                L,
                                                 [~
     2. Where ara you inca~cera:ed? C,   . ~
                                                   '~                                          -                   ~ ~'                        c
    3. V~Ihy are you in custody? ~ Crimi
                                         nal conviction               [~ Civil commitment
         Ans.ver items a through i to the besf of your
                                                       ability.
         a. Stare reason .or civil commitment or, if crimi
              ~e,ith ~ Ica of a rtaarll~i waannn"1
                                                           nal    conviction, stars nature of offense
                                                                                                        and enhancements (for exam
                                                                                                                                  ple,"robbery




        b. Penal or other cede sections: ~~ ;       ,1 i~ _~~ ,,~~ ~,~'T"'~~,~- 7 g~
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        C. I`I3f?''~e 2~~ ~nr~+;nn ~~ S~~t~~ci
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       d. Casz number:           ~ ` '~ ~rs~(~-~j t-~-
       e. Dais cor,v~ct~d or committed: C~ ~
                                             — ~.~-~jj•'~-
                                                           c~~Sfir~uC"~ I~ S S`~-                                O[   ~ d ~'Z~'"Z~j'~-
      f. Date sentenced: ~G ^'7 ~~-,!
                                      -'~-                          ~ ~,~"~"~
                                                                                    ~C7- i S~S~--i~.j-f !d -`Z
                                                                                                              ~"-~ C.~ ~ '~-
      g. Length or sentence: ~ ~j/~~ y^~'

      h. V~lhen do you e;cpect to be released? ~ 5~
                                                        S~~n ~ 5- ~^Z ~ j~'~
                                                                             S'C~ •     r~ Cpl
      i• Were you re~rese~led b~ counsel in the trial.
                                                       court?[~ Yes ~'    No If yes, state the attorney's name
                                                                                                                                and address:




4. V'Jhat was the LAST plea you enterad? (Check
                                                one):                                     ~~- ~ '~
   0 Not guilty ~~ Guilty ~ Nolo
                                 cantendere C]Other:

5. If you pleaded not guilty, what kind of trial did
                                                     you have?
[~ Jury                 [~] Judge 4vi;hou: a jury     ~]Subrnit~ed on transcript
                                                                                 (~ Awaiting trial




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                                                 PETITfON FOR WRIT OF HABEAS
                                                                             CORPUS
                                                                                                                                       Page I o1'~
     Case 8:18-cv-01821-JGB-JC Document 1 Filed 10/10/18 Page 16 of 44 Page ID #:16
                                                                                                                                     ~;    .



    6. GROUNDS FOR P.ELIEF                                                                                                              h~C-275
       Ground 1: Sta`.z briefly the groun~ on which you base your claim for
                                                                               relizf. For e~cample,"The trial court imposed
       enhancer;znt." (If you have a;~d;fional grounds for r2liaf, use a sz~ara                                              an illegal
                                                                                t~ page for each ground. State ground 2 on page
       additional grounds, mare copies of papa 4 and number fhz additi                                                             4. For
                         ,~ ~                                              onal grounds in orc+er.)
                        F               -                           c                                 .
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        a. Supporting facts:
               Tell your story briefly without citing cases or Ia~N. If you are
                                                                                  challenging the  legali~y of your conviction, describe the
                which your conviciicn is based. If necessary, at~ach additio                                                                     facts on
                                                                                  nal pages. CAUTION: You must state facts,
                example, if you are claiming incompetence of counsel, you                                                          nok
                                                                                  must state facts specifically setting fo~h what conclusions. For
                failed to do and hetiv that a`fectad your trial. Failure to allege                                                    your attorney did or
                                                                                   sufficient facts will result in the denial of your
                Swain (19Y9 j 3~- Cal.2d 3~0, 3~-~.) A rule of thumb to follow is,                                                     petition. (See In re
                                                                                       who did exactly what to violate your rights at
               .place where). {l;' a~iailable, a!~ach d~cl~~3r,'ons, re!avant                                                           what time (when) or
                                                                               records, transcripts, or other documents suppo
                                                                                                                                   rting your claim.)




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                                                    ~               J....r~
                                                                            ~G S/1►~1~1         ~~      Y ►v 1   V 1 ~~1~ ~ ~1~
                                                                                                                                          C.rl~ 0/ L~ ~
     b. Supporting cases, rules, or other authority (optional):                                                                                         ~ e.

        (briefly discuss, or list by name and citation, the cases or other
                                                                           authorities that you think are relevant to your
        necessary, attach an extra page.)                                                                                  claim. If
               Velai              ~ C~ e._ 2 ~~o. I                                                 . ... .
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                                        !~~~-1P         ~- ~C+~ . Z               G rit c.~ ~.- `!~L'Y7 _ ~ Ca ~~




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~~,~.z~~;~t~   J~'uar~1   z~~~;                   PETITION FOR V'JRIT OF HABEAS CORPUS
                                                                                                                                                 P~9e~o~T
    Case 8:18-cv-01821-JGB-JC Document 1 Filed 10/10/18 Page 17 of 44 Page ID #:17



  7. Ground 2 or Ground          (if applicable):                                  N1C-275




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                                                        ~     r            t   ~



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       a.                                                         -                 _ ~




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~,,~_~?;;a,, ;,~,:.,~, ~ ~:•~;      PETITION FOR V'JRIT OF HABEAS CORPUS
                                                                                   P~9e~~~
     Case 8:18-cv-01821-JGB-JC Document 1 Filed 10/10/18 Page 18 of 44 Page ID #:18



    S. Uid you appeal from the conviction, sen:~nc~, or commitment                                                                                   M C-275
                                                                   ?~                   Yes    ~No              If ves. Gi~~~ the follo~.ving information'
          a. fvsme of co~~t ("Cour'~ of Ar;:eal" c."A,~fella:z Division cf Superi
                                                                                       or Court"):

          b. Res~~lt:
                                                                                                     c. Data of decision:
         d. Casa number or citation of opinion, it knervn:

         e. Issues raised:(1)
                                                                                                                                             _
                                  ~2)

                                  C3)

        f. Wera ;ou rerresant~d b/ c~unsal on appeal? ~
                                                        Yes                 ~No               ff Yes, s'.3t~ the a!t~rn~v's name and
                                                                                                                                     a~dress if Known•


  9. Did yon se?{ r~~:6e~~v in Gyre California Sucrerre Court? 0
                                                                 Yes                   ~'No              If pies. Give the fo!(awing inferma
                                                                                                                                             'ion•
        a. Result:
                                                                                                 b. Date of decision:
       c. Casa number or citzt'.on of op;nion, if knc:~~n:

       d. Issues raiszd:(1)

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 10. If yo~~r r•et~ti~r mares a clam r~gar~~ng your ~o~vic:ior:, senten
                                                                        ce, or commitm?nt that            yo~~ or your attorney did not nape
                                                                                                                                             or




 1 1. Admini„rati~ie revie~n,•:
      a. If your p?iition conc~rr~s con~~ti~ns of confinement or o:"per
                                                                        claims for which there are administrati~ie remedi
          admiris ra :ve remedies r^a~ result in the d?nial of your petitio                                                  es, failure to exhaus
                                                                            n, even if it is other~~ise merEtorious.(See In re ti
         52 CaI.A~Za.3d 5~0.) Explain what administrative revie~,v you sought or                                                 fuszals:u(1975j
                                                                                    explain why you did n~i seek such r~vie~v
                                                                                                                                  :-
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     b• Did you s??k the higf~est le~rel of adrrinis~~a;ivy r~vie~~i
                                                                     2'i3ilable?              0 Yes [~ X10                    ~ VoQs ~a-r—G~~~
          A~tsch documents the! show you have ex,'~austed your administratrv~
                                                                                         remedies.

ti,;_~z~:~~., jar~,~rr , ::•-;                PETITION FOR V'lRIT OF HABEAS CORPUS
                                                                                                                                                     P~9asor7
            Case 8:18-cv-01821-JGB-JC Document 1 Filed 10/10/18 Page 19 of 44 Page ID #:19



           12. Other than direct apce3l, h3•i~ yeu f:l~d a~~ othar pati;iens, a~plica;i                                                         h1 C-275
                                                                                        ~ns, or motion; witti respect t~ this conviction,
               issue in ar,y coup?     ~ Yes ~I ~s. centiru~ ~a~ith number 13                                                             c~mmitmznt, or
                                                                                               0 N~ If no. s~ia t~~number 15.
           13 a. (1) Name of tour: S,.,~f      ,~--r~o►~- r, a ~-~""o~C i~ ~ C~ci1~~•
                                                                                          ~ ~c~.~'~c~ Cetn"~ i~---
                 (2) Nature of pr~ce~~~ng (for ex~mpie, "haheas corpus Petition"): ~q~~
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                                                                                                        t-~-t-~'O~
                     (3) Issues raised: (a} ~,~ r~ ~ -f-S

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                                              G.vac( a(~I ~ ~~.✓~,~1~ i v►c~( ~ff~►~'e.                                                                   c!n~~.o v~
                                                                                                        e..
                    (~) Rzsult (attach orCer or explain why una~iailable): Q~~ ~
                                                                                                                ~           -c       c.              l
    '               (~) Date of decision: ~ ~ = (~ -- 2. C~ / ~"

                b. (1j Namz of court:

                    (2) Nature of proceeding:

                    (3) Issues rais~c: (a)

                                                fib)

                    (4j P.es:.~It   ~3:i3c:h   o~~~r o; BXr7I3IR   ~bhy   unavailabla):

                   (5) D~~~ of decisicn:

              c. For ad~itenal ~riorFeeiiiens, a,~piicaf;ons, ormof;ons, ~ro~iid~ the ssme
                                                                                              information ~n a separatz page.
         1~. I. any of the courts li~`.~~ it n~m52~ 13 hel~~ a hearing, state name of court,
                                                                                             da:e of hear~~g, rature of hearng, and result:
i                 •h,~ ~ ~r- ~' ~ ~r- ~c ~i~~ ~~ ~ C ~ C~c~.~.,'t'~-c~ ( ~i.LS''~
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                 C1-,~ v-~~ i ~!n -~ .~,, ~~~~o~ ~-,r-~y~i~rt'" ~f ~-~' ~'o c e ' i ~t~ ~ ~e~"'i~f"r ec~ ~o,r ~/"'' .~.., o~c
                 I~a~ecss C~Ts. ~~r~c~ ~~7 ' o ~ o cry M c,n c5 — ('~--20 ~ ~'
         15. Explain a,~y ~aiay i~ the ~i~cover;~ of tha clairn~d grounds for rzl~~f aid in rai:;ing the
                                                                                                         claims in this pe;;tion. (yea In re Sr;a;'n
             34 Cal.2d 3J0, 304.}                                                                                                                    (19-~5)




         16. A.e you prestnt;y repr2sentad by cc~nsal?                    (~ Yes          ~~No       If yPs stata the at~orne~r's name and a~d~ess if
                                                                                                                                                      kno~.vn•




        17. Do you have/ pztiCn, appeal, or ether matter pending in ary court?                        ~ Yes         0 ~Jo                   If yes, explain:
                                                ~~          ~                    Zi~SC'                   G     c
                                                                     ~-'             1                                   C~
               G I' l/j (              C~[M /~ ~o r cn~ [ v~ ~~~                          % v~ ~ C~ ~r~ ✓~~~x ~~'v~'~F'Y' Sv✓,
                                                                                                                               c~                             TC~
                                                                                                                                                         v~r,,,~~
        18. If this petition might la~~vfull~ have been made to a lower court, stare the circ~mstanc s justif~,rin
                                                                                                                   g an application to this court:
            ~ 5~7~VEN~r~cGoc.                            .rc..._a !~                       v   zcl«~~           Zc~►rt'~~~                  v~L-f-~'w~ C~
              ~~`/~~~+~ ~ ~ ~/Ir /
              y                                        ~Z,C~✓1 / ~         ~~TD
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               Cert"rQ.cf'                     r 1 leg~~ l Se:-i7'~•~~~
                                                                   a mo Cor.vc      d(    v~ ~~ v~o a7:
        I, the unCers~gned, say: I am the pet~t;oner in this ac ion. I declare underc~~o                  - n dt~' 1a            - ~--
                                                                                     penalty of perjury under the laws of the State of
        the foregoing a!I~~~!ions and s:at?ments a;e true and correct, exceFt as to maCers that are                                    California that
                                                                                                         stared on my~nformation and belief,
-       to those matters, I believe them to be true.            - ---~ -------~                                                                and as
                                                                                                                                 `,_ - -


                                                                                                                           ,TJR= G~ PETt7;G`~cr~.~
                                                                                                                     (S.Gr::
                                                                                                                                                     c           ~-~_
        ,.~~-~~;:=r. Ja.-~,-,, z;~~;                            PETfTION FOR WRIT OF HABEAS CORPUS                                                              Page 6 ofd
        F or your protection and privacy, pla~sa press the Clear
        This Form b~.tt~~n ah,~r you hJ•i~ pair?e~ tF~? f~~m.
                                                                                  Pfi~t fflis fOtm    Save this form                                 rC~a~x~115'~O~TY'1
     Case 8:18-cv-01821-JGB-JC Document 1 Filed 10/10/18 Page 20 of 44 Page ID #:20



 SHORT TITLE:                                                                                    case Nun,,aER.




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19                 :sr-c-~ v:~,~ ~ c ~+~Tjf .~ r1~.~ri~s d'~~ ~; ~-~3-.-t~-i~
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22                 C3 ~"'~.-~c~~c~ ~~c ~~~~ C~o vl
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                       C~ v~ S eG~ C ~ ~             ~ Z "~,C.~E'~' cA.~sc~ G`~ —G I '_ Zt7 i ~' ~~~
24                                                                                                      ~ ~ C. S~
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      (Required for verified pleading) The items on this page stated on information and belief are (specify item numbers, not line
26
      numbers):
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       This page may be used with any Judicial Council form or any other paper filed with the court.
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      Form A4~oroved oy one                                   ADDITIONAL PAGE
  Judicial Council •~~Caldgr.^~a
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                                             Attach to Judicial Council Form or Other Court Paper                                cRc zo,, soy
       Case 8:18-cv-01821-JGB-JC Document 1 Filed 10/10/18 Page 21 of 44 Page ID #:21

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                                         ~~                             ~                                            ~ ~ ~                                                                DNA TAKEN
                                                                        FELONY ABSTRACT OFJUDGMENT -DETERMINATE                                                                                                             CR•290
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  PeOP_E OF The STA:e c~ ca~Fo~N~a ~                     rice. 01-17.1976                                                                                                       SU ERIOR COURT OF CALIFORNIA+
  DEFEub~H?: Gou(d, Stoven Eric      ~' i~~., ~.'~ ~,(;,~ /~~~ Z~'~,~'1, ~pfc~"' ~~F1~5-i                                                                         ✓            -A    COUNfi`fOr ORAh1GE
                                                               '~                                                                                                                  CEN7r'~l JUSTICE CENTER
                    Gould, Steven E ;Could, Steven Eric ;Gould, Stevio Erlc    L-~.~ '~"                                                                                                  G~S ~ j1 ~01~
  cu No.:           A2206o"B89                                              '~ ~~i.~y~;  ,
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                                                                                                                     AMENCE7
 Q PRISON COM1IMITMEyT                          ~ COUNTY JAIL COhTMfThiENT                                   ~ ~~''TR''`''                                                     "~            .
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  oa~eofHe.►~i+v~                                                      C£PT.N~                                                            ~uoce                                      ~ `~
  09!2612017                                                           C36                                                                Gary S. Paer                               ~   ~~ d ~ r~'~.,~~~~i ,~~
  CLERK
  Jodie Hathorn
                                                                       R=PGRT~R                                                           PR09ATICN V0. ~~ PRC9A~10~ O~FICcr7                     ~ I~fuED~ATE ScNT:NCiNG                     c~:~,•-~
                                                                       Joanette Gillick
  COUNSEL FOR PeOF~
                                                                                                                                          CGUNScL FOR DEF3NOANT                                                      ~ ApPpINTED
  Brian Orue


1. Defendant was ccnvict~d of the commission of fhe folicwiny felonies: ~...j ~, J -t
                                                                            l         ~'~C:v:^_-~ C1 nc~ ~ n y~ 1 acs GL =3 ~'~'~+-vt~.vt
        n Ad~i:iona( courts are li;;~d on att3~hment         '~~                                           W               }
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                                                                                                                                               ¢         a       uS   r ~       ~    ~ V a, ~           ~+   .~
                                                     ~                                                               C6:41T~3 ~A1~/r.1TclYE?R) ?         V       ~            ~ C~ 4 Z H p              m     W      ~ YRS M^rS.
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2.~,      VC        123~~:.4                           ~vadin a                   ce of`i~~r, d,-ivin In o            17       0@!2612017                         X       U                             X                   0       00
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2. E~~~ar~:E~.1~MTS cha,-~~d and fo~.:n~ Ic ~e t;~e T~~~ TO ::-EC~FI~ C~I;~iT~ (mainly in the PC 12022 series). List each mount
                                                                                                                                enha~cernenl   j~ ~-'~''1i SI~~''~e~1
   hcrz~ntaf~y. E~!er ti~n~ imacsed, "S" for s;ay~d. cr'FS" !c:r a~„-~;;;~ment s';~~k. DG NOT LIST ENHANCEti1ENTS ~UILY STP.ICK~N by the
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                                              ~S.~:N'PS~                                           ~•w :5'
                                                                                                                       E~rF'nlJ~,chIENi                                   ENFW~:CE M2Y~            s.-~~5-                 TC?Ai.
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3. EN~i,;~CE1~Ic.hTS c~~~r;~~ and f~un~ to be lr~e (or PR;OR CGNVICTIONS CR ?filSQl'i TERtitS (mainly in tre PC 667 szries). Lisl all enhancements
   horizontally En!~r time irr.ncsed. 'S" for stn•;ems. cr "PS" for ~unls`~m~nt struck. DO NOT L15T EP~HANCEb1~NTS FULLY STRICKEN by the court.
        E VHA;~Cc!A~NT              twe~~w.aeo                   E;~h,:r~CEti~~r~T                 ~"~'-~'~L~•           ENHF~NCEMENT                 r"~'1°~'6''~            civHR~10EMcNT                  ~"'E"o's~e•        TOTAL




4. Defendant sentenced ~ to caunty jai! per PC 117C(h}(1 j or (Z}
  Q to Arson per 1i 70(a), 1170.1 (a} or 11 T0(hj(3) d~~ to ~ current or prior serous or violent felony [,~ PC 290 or ~ PC 18E.11 enhancement
      per PC 6:,7(b)-(i) or PC 1170.1Z (stt~ke prior)
  ❑ per PC 1170(a;(3). Pre~n~nement credits equal or excaeC tlme Imposad. ❑Defendant ordered to report to local parole or probation office.

5. INC01~1PL~TE S~NTENCE(S)CONScCUTIvE
                     c:.~,a-~r                                   C~~E N1.~19ER                                         6.      TOTAL TIh1E ON ATTACHED PAGES:                                                QO              00
                                                                                                                       7. ~ Additional indeterminate term (sec CR-292).

                                                                                                                       8.      TOTAL Tlbtc:                                                                  OS        ~     00

                                                                 Arachmer.ts may be used but must be referred to in this document.
                                                                                                                                                                                                                                P.9~ t or i
 Firm AOaplatl ~a~ %aryaicry l;ta                                                                                                                                     ~                                                      Pen~~ C~4s.
   ~,,b~~.. ~o„~i ~r ~,~rxti~                                        FELONY ABSTRACT OF JUDGMENT - DETERMIN~T~                                                                                                             g +z~~. t2» 5
   Cat-?~: Rev .cly 1. 2"v~21




                                                                                                                                                                                                   ~J
      Case 8:18-cv-01821-JGB-JC Document 1 Filed 10/10/18 Page 22 of 44 Page ID #:22

                                                                                       ~ .
                                                                                                                                                             CR-290
  P~G`PLE OF TriE STATE OF CALIFG~NI,~ vs.
  OFrENDAVT: Gould, Steven Eric

              ~~wFt~c~s                -A                                            -B                                  -C                                     -D
 9 FIN~NC~L OBtIG~TiONS jplus any aFalicabte ~enalry ass~ss;nan;s):
 a. Restitution Flne(s):
Case A: S 300.00 per PC 12~2.a(b)((oRhwith par PC 2085.5 if prison commitment) S ~~0.00
                                                                                    :             per PC 1202.45 suspended unless parcle is revoked.
         S 0.00      per PC 1202.44 is now dua, probaticn having been revoked.
Case B: S          ~ Fer PC 1202.4(b)(forthwith per PC 2085.5 if prism commltme;~t); S_          F.er PC 1202.45 suspended unless parole is revoked:
         S    D.CO   pzr PC 1202.4a Is now due, Frobaticn having been revokzd.
Case C. S            per PC 1202.4(b)(fcrJ~:vith Fer PC 2D85.5 if prism commitment); E_          per PC 1202.45 suspended unless parole Is revokad.
         S    0.00   per PC 1202.44 is now due, probation having been revcked.
Case D: S            per PC 1202.4(b)(for4f;wi;h per PC 2085.5 If prison commitment); E.         per PC 1202.x5 suspended unless parolz is revoked.
         S    d.00   per PC 1202.44 Is now due, probalien having. teen revoked.
b. Restitution per FC 7202.40:
Case A: S                     ❑Amount to be determined             to       ❑ VIcGm(s}'       ❑ Restitution Fund
Case B: S                     ❑Mount to be det~rmired              to       ❑ Vctim{s)'           Restitution Fund                 '
Cass C: S                     ❑ Ar:iount to be determined          to       ~ Victlm(s)'          Restitution Fund
Case D: 5                     ~ AmouM to be determined             io       ~ Vic;im(s)'          R~s6tutian Fund
          ❑ •Victim nama;s), if~Cnow~, aid amount break own in item 13,below.            • Vlc•Jm name(s), in probation of~icers repot.
c. Fine(s):
Case A: S              per PC 12Q2.5 S        O.CC    per VC 2355 or       0     days ~ county Jail Q prism in lieu of fine ❑concurrent ~ consecutive
            ❑ includes. [,.J=                Lab Fes per HS 11~72.5~a) ❑              DruS °r~~ram Fey per HS 11372.7(x) for each qualiP~ing ogen~z
  Gaye B: 5            per ?C 1202.5 3        O.C~    per VC 23 50 cr      0     days ~ county jail Q rrison In lieu of fine ❑concurrent ❑ consec~+ave
            ❑ ircludes~ ~~                   La~ Fea per H5 11372.5;x) ❑              Drug ~ro~ram Fee per HS 11372.7(x) for each quali~i~g oftensa
 Casz C. S             per PC 12~~.5 5        0.~~    per VC 23 50 or      0 _days ❑ ca~nty jail Q prison in lieu of fina ❑ cancurrer,; ~cons2cut:ve
               incl~d?s: ❑ ~                 Lab fee pzr HS 113 2.5(x; ❑              Drug Pro~rari Fee per HS 11372.7(x) for each quali~jing offense
 ~a~z D: S             For PC 12X2.5 5        O.CO    p ~r VC 23~~0 or     0     days Q c;.~nty jail ~ prison In Ileu oI fine ~ concurrent [consecutive
           '~inclu~as: ~~                    Lai Fee per HS 11372.5(x) ❑              Drug Program Fee per HS 11372.7(x) for each qualif~~ing afi=use
]~ . Ccun OFzratiors As~essrr.e~t: SdC.~~      per PC 14~~.8.e. Convic5~n Asses„rent:.S3C.00 per GC 7073. L Other:S               oer (specihf):

10. TESTIPl;3:  ~ Com~;lianc2 •a;th P~ 29~ verified ~ i,~CS For P~ 1202.1                   Q other (specify) DNA PC 296
11. REGISTf~",TION R~QUlR~41c~;T: ❑per (spacrfy cods sact;cn;:
1?. ❑ D.1,aNC,~TOP.`' SUr=c~`J!SIJ~J: Exec~::or, of 3 Fort:~n of the de`~r,dant's 5e~tenc2 is s~spen~ed and deemed a
                                                                                                                          period of manda!ory supervision
    ur,~~r Penal Cade se~tior, ~~ 7](h~(~j~b~ a5 iGIIGrIS (specrPf!ora! sanfer!~~, perficn s;;shended, a„d arount to ba served fnrthwrth):
     Toca;:                                    ~ Suspznded:                                           Served forthwith:
1 3. Other orders (specify): Jail senE on count 3 deemed sa'isfie~ by time sport in custcd~~. Court's intent is to give defendant 50% credits on balance.
     payable through thz Dept. of Corraccions. Deft is ad~~sed that his driver'9 license                                                                  All fees
                                                                                                '
     cr driving privilege rr'a/ ~e susp~ndzd or revokzd - to be d:lem-~Ined by (ha     1~. CRE~iT FOR T11,1~ SER'JED
     California Dcpt. of h~otor vehiGes. D~s(t orc~red co report to parole autnorily    CaSE iCTaL CR°CITS       ACTUAL              L~Ce►L CCtv~UCT
     within 72 hrs of release from c~siody. Cour: oroer; KOSii~R diet at OCJ.
                                                                                                                                         U 29J7
14, Ih1titEDI;,T~ SENTENCING: ❑ Probatior to preFare anC submit a                        A        242              101          101      0 mz•~
      post-senlerce report to COCR per PC t203c                                                                                          ~X] IC19
     Detenda~Cs racelnational orgin: Y+lhite                                                                                             Q 2913
                                                                                         g                                               Q 2977.1
15. EX~UiION OF SENTENCE 11~4POSED                                                                        •                              Q X019
     a. ~r~ at initial sentencing hearing.                                                                                                     xea~
     b. ❑ at resentencing per decision on appeal.                                        C                                               Q 29]].t
                                                                                                                                         [~ 4019
    c. ❑ a4er revocation of probation
                                                                                                                                               29]J
    d. ❑ at resentarcing per recall of commitment.(PC t 170(d).)                         ~                                               C) 2931.1
    e. ❑ other (spec;l~):                                                                                                                ~     aoee
                                                                                            Date Sun:encc ?tnnosx0     T.ms 5arvad in 5taie tnsuC~tbn
                                                                                                  O4i~6/~017               OMH         CDC ~ CRC
17.Tne defendant is romanced to the custody of the sheriff           Q fcr~:with ~ aKer49 hours excluding Saturdays, Sundays, and holidays.
   To ba delivered to j✓~ the reception center deslgr,ats~ Cy the direc:cr of the California De~a~+ent of Corrections
                                                                                                                      and Rehabilitation:
                          county jail        ~~aecrfy):
                                          ,~G°`'"`"j'~                   RK ~F THE COURT
                                          ~ ~r
 hereby certitj the fcrs5oir.g to be a Corr ~ tract of                       ode In this anion.
 DE. ~ 'S GN~ITUP..:.                       ~~ ~                         ~         DATE
                           a a ul        .; ~ ':a~ ~~ ~                            OCT Ya, 2017
~~_Z~}~~,.,~ , ,~~,~~                   t.qq v~ .,,;.~.(Js, ~~'u..w~
                                                                  l~t~       ,qCT OF JUDG"RENT- DETERMINATE                                                 P'9i2°'2


                                            '~~'e~ 0~`1'"
      Case 8:18-cv-01821-JGB-JC Document 1 Filed 10/10/18 Page 23 of 44 Page ID #:23
         SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORA
     ADVISEMENT AND WAIVER OF RIGHTS FOR A FELONY    NGE
                                                  GUILTY PLEA
 CASE NO. (        ~-w -
                r 1 ~ ~~    PEOPLE v.    S~~                                  ~~c ~Saw~                  SUPERIOa`L`CIU~'i`~'~'gl,fFORNIA
                                                                                                               COUNTY OF ORANGE
                                                                                                            CENTR4L JUSTICE CENT
1.~ My true full Warne is                                                                                                           ER
                                            ~~P~4r                GY1 ~         V 0~l.Q,
                                                                                                                 SEP 26 ~Ojl
        ~ a~n represented by                              ~ --          .p,~-                             DAVID H. YAME►SAKI, Clafk
                                                                                                                                      ~t ~~
2.      I understand that i am pleading guilty, and admitting
                                                              the following
        offenses, special punishment allega~ons, and prior
                                                            convictions,
        carrying the possible penalties as follows:
 Ct       Char e           ntencin R   e     Enhenc~mertte   ~   Yrs.      Term (or Priors       Yra.            Total Pena! Years
 1 2~ao.Z              1~• Z-3              ~t~zc.. { ~          Z        b                                           6
3 .Zo o a 2-~a                                                                                                            r~
                        1N1ts
                                                                                                                  b ~v

                                                                                ~            unlshment
                                                                                ~d                                            b~
                             ~~--~ s~t~~ ~ C~,~ r~~i1 ens- ~ s                                                      ~ 1fl y ~ ~ ~ 1r~.~~ ~
  3. ~~ !n addition to time in custody, I understan
                                                       d the court may also order me to pay a fine
        • 10,000 for mos: felonies [P.C. 672]; u~ to X20,000                                             as follows: up~o ~'
                                                                  for selected drug offenses [H8~S 11372]; up
         for selec.ed drug offEnses [H&S 11352.5J; or othe                                                       to X50.,000
                                                                 r: .
  4. ~ I understand it is absolutely necessar
                                                  y that all plea agreements,. promises of a .part
         sertence recommendations be completely disclosed                                             icular sentence, and
                                                                       to the court on this form.
 .5.     Right to an a~t~rne~: 1 understand t .have thz right to
                                                                         be represented by an attorney at a!1 stages
         proceedings until my case is completed. If f cannot                                                          of the
                                                                    afford an attorney, one will be appointed
         of charge. However, f understand that at the conc                                                      forme free
                                                                lusion of my case, the court may order me to
         the County cr Orange for the cost of my attorney, acco                                                  reimburse
                                                                         rding to my ability to pay.
 6. ~ RiCht to a pre~limiRary hearr~g: I understan
                                                          d I have the rightto a preliminary hearing at
      _ officer will determine if there is suifici~nt evidence                                             which a judicial
                                                                   to justify setting my case for trial. At this
        have the right to be represented by an ~ttomey as                                                        hearing, t
                                                                  described in paragraph 5 above, the right to
        and cross-examine witnesses against me, the right                                                          confront
                                                                      to present evidence on my behalf, and the
        remain silent and got testify; but I may testify if !wan                                                    right to
                                                                       t to. I waive and give up my right to a preli
        hearing.                                                                                                     minary
 t. ~ Jury trial right: I understand I have the
                                                right to a speedy and public trial by a jury., I waive
           these rights.                                                                               and give            up
 ~. ~~ Right to confront and crass-examine v~itn
                                                                esses:
           witnesses aGainst me and to cross-sxamine them mys ! understand I have the right to confront the
                                                                        elf or have my attorney cross-examine
           waive and give up ~~sse righis.                                                                          them.
 9. ~~ Right to testify ar remain silent: I understan
                                                             d 1 have the right #o testify on my behalf. 1 also
           1 have the right to remain silent, and f cannot be compelle                                          understand
                                                                         d to testi~j against my will. I waive and dive
           these rights.                                                                                                  up
1~. `~. RiCht to present evidence: f understan
                                                        d 1 hive the right to present evidence and to call
          testify on my behalf. I further understand !have the                                                 witnesses to
                                                                    right to invoke the compulsory process of the
          to subpoena evidence and witnesses at no cost to me.                                                          court
                                                                       I-waive and give up these rights.
11. ~~ Immioration consequences: I understan
                                                          d if t am not a .citizen of the United States,
      . . conviction for the offenses) charged will have the                                                the plea or my
                                                                 consequence of deportation, exclusion from
          to the United States, and denial of naturalization purs                                                admission
                                                                    uant to the laws of the United States.
'12. ~ Strike Offense(,): l ~~nderstand that my
                                                       conviction in this case is for a serious or violent
          ~Yhich may result in thz mandatory denial of probation                                            felony ("strike")
                                                                      , substantially increased penalties, and a
          stata prison for any     future felony conviction.                                                         term in
13. ~ Fourth Amzndment v~raiver: I understan
                                                     d under the Forth and Fourteenth Amendments
      Stages Constitution, I have a right to be free from unre                                        to the United
                                                                 asonable searches and seizures. I waive and
      up this right, and further agree that for the period durin                                               give
                                                                 g which I am on probation or mandatory supervisio
       wi !submit my person and ~roperfi~, including ar~y                                                          n
                                                               residence, premises, container or vehicle
                                                                                                          under my
           Case 8:18-cv-01821-JGB-JC Document 1 Filed 10/10/18 Page 24 of 44 Page ID #:24
       CASE NO.             ~~r •t'(,                                            PEOPLE vs.
                   control to search and seizure at any time of the day or night by
                                                                                           any law enforcement officer, probation
                   officer, post-release community supervision officer, or parole officer
                                                                                                 with or without a warrant, probable
                   cause or reasonable suspicion.
         -14.~ BlakziylCunningham waiver: I understand I may
                                                                             have the right to a jury or court trial as to certai
                  factors that can be used to increase my sentence on any count, sente                                                  n
                                                                                                  ncing enhancement, or allegation,
                   to the upper or maximum term provided by law. {waive and give
                                                                                           up the right to a jury or court trial on all
                  of these facfors. I agree the judge wilt determine the existence of
                                                                                            any of these factors, within the judge's
                   discretion, as allowed by law. I agree this waiver shall apply to
                                                                                         any future sentence imposed following a
                   probation revocation.
          15.~ Appeal viraiver: ~ understand t have the- right to
                                                                        appeal from decisions and orders the Superior
                  waive and give up my right to appeal from any and all decisions                                                Court 1
                                                                                          and orders made in my case, including
                  motions to suppress evidence brought pursuant to Penal Code sectio
                                                                                                   n 1538.5. !waive and give up my
                  right to appeal from my guilty plea. 1 rrraive and give up my right
                                                                                            to appeal from any legall authori~,ze,~
                  sentence the court imposes which is within the terns and limits of
                                                                                            this plea agreement. ~.• ~               ~.
          16.~ Cruz waiver: I understand that if, pending sentencing,
                                                                               I am arrested for or commit another crime, violat                                 t 1 ~.~ni~~w~<<d
                  any condition ~T my release, or willfully fail to appear for my probation                                             e
                                                                                                interview or my sentencing hearing,
                  the sentence portion- cf this agreement will be cancelled. I will be
                                                                                          sentenced unconditionally and I will not
                  be allowed to withdravv my guilty pleas).
         17.~ Arbuckle ~nraiver: I understand I have the~rigf~: t~
                                                                          be sentenced by the judge who accepts finis plea.
                 waive and give up that right.                                                                                          i
         18. ~ Probation Repnr~ waiver: f understand f have the
                                                                            right to a fu11 probatJon report before sentencing.
                 waive and give up that right.
         19.~Niancatory Sup~rvis:on 1~faiver: I understand that
                                                                          I will be on mandatory supervision (P.C. 1170(h)(5}.)
                 fcr the period of time and subj?ct to the terms and conditions specif
                                                                                           ied in this plea agreement I understand
                 if 1 violate any term or condi~ion of mandatory supervision l could
                                                                                           be sent to county jai! for the remainder
               ~ or" my sentence as set forth on page 6, less any credit for time
                                                                                       served.
         20.~ Post-Release Community S~penrision: I understand
                                                                                  that upon release from state prison I may be
                 placed on post-release community supervision for a period of time not
                                                                                                  to exceed three years, supervised
                 by' county o~iezrs. 1 fur~►~er understand 1 could be sent to county jail
                                                                                              fior up to ten days on the order of the .
                 post-release comrnunii~~r supervision authorty without a court hearin
                                                                                             g.
         21. ~ ~ Post-Rzteas~ Carnme~nity ~uperviston Revocation
                                                                              : i understand that, following a court hearing, if 1
                 am found in viola~ion of any of the terms or conditions of post-relea comm
                                                                                            se          unity supervision; I could be
                 sect to county jai! .or up to 180 days each time I am found in violation.
         22.     Parole waiver: I understand that upon release from state prison L may
                                                                                                    be placed on parole for a period
                 of time ranging from three years to life, supervised by the California
                                                                                                    Department of Corrections and
                 Rehabilitation. (further understand tFat if I' am found in violation of any of the terms
                                                                                                               or conditions of parole,
                    could be sent to county jail for up to 180 days, except if y sentence
                                                                                                    was li►e, I could be sent back to ,
             ~ / state prison for up to a year. ~~,~. ~f'-~ oft'
         ~~ `~1        ~       ~.
                                                                                      QC~f~ o~ w~12~1~ ~i.~~~ i`~~l'
         ~ J.   -                              a:                     I..v..
                                                                         ~,~`a-    E!~}.~ ~'-tQ~..~..
                     ~~.u:Ii ~ i~lv~:~ v..r ~: ~.'v :. ....~ ~ r. •                                   +lam .. o
                                                                                                         ~ ...            ~^      h~~ri
                                                                                                                                    ~. .i :J har
                                                                             ~~.... ~. ..... . _.....          ...   ~.        ._l •.        ~. ~.!~~P   a j~~lf~~{^!7
                                                                                                                                                               J       ~ f~~~p~ t`1
                     determine whEther I violated the conditions of my court-ordered proba
                                                                                                    tion or mandatory supervision and
                     to determine the appropriate sanction for -the violations. I hereby waive
                                                                                                          and give up this right for all
                     violations for which the county probation department orders me to szrve a "flash
                     be a period of one to ten consecutive days in the county jail. However,                    incarceration"~ which can
                                                                                                   if i do not agree with the imposition
                     of flash incarceration, I am preserving my right to demand a hearing. I understand
                                                                                                                   the court may not deny
                     me probation if (elect not to sign this waiver.
          24. ~ Mandatory execution of sentence: f understand I am not
                                                                                        eligible for probation and I will be sentenced
                     to state prison or county jai! pursuant to P.C. 1170(h),
    `  ~ 25. ~ Local OCc~~ D~1~ 7~ta5as~ Consent and Waiver: I volun
                                                                                         tarily consent and agree to provide a Local
                     DNA Database sample, punts end photograph to the Local OCDA DNA Datab
 ~~`=~ ~`~ `~ s~-Y'~ forensic analyses and continual searcf~es, anytim                                     ase for permanent retention,
                                                                             e in the future, against other DNA profiles, prints, and
'r`~= ~~~~.: c~~. photographs in any local, state, nation
                                                                    al, or international law enforcement database only
  ~-' ~.Irt          enforcement purposes. I hereby waive and give up my right to withdraw this conse                             for law
                                                                                                                   nt and understand that
                     my consent and waiver of m~ right t~ wi~hdraw my consent will «mai
                                                                                                     n valid and enforceable even if 1
                     successfully complete the terms of my negotiated disposition or a PC 1203.
                                                                                                                  4 motion is granted.
                     understand thGt pro~~idir?g a DIVA sample may violate my Fourth Amendmen
                                                                                                            t right and I waive and give
                     ~p that rigf~t as it rz!s±es to the collection and analysis of nay DNA samp
                                                                                                      le and continual searching of my
                                                                       ~ ~
      Case 8:18-cv-01821-JGB-JC Document 1 Filed 10/10/18 Page 25 of 44 Page ID #:25
CASE NO.                ~F ~ "l~                                            PEOPLE vs.
                    DNA profile. Additionally, I voluntarily agree to provide my DNA sampl immedi
                                                                                          e        ately, or if I am in custody,
                    within 72 hours of my release. I also agree to pay a $75 administrative
                                                                                            fie at the time of collection of my
                    Local ~CDA DNA Database sample.

  26. ~roposed disposition: I voluntarily agree and understand the
                                                                                  court will: (initial all that apply)
      ~;~a.~(a} Sentence me to state prison for a period of ~ years and
       ~                                                                               ~ months, credit for time served
                 of I D~ days actual custody and t ~ days of good time/work time
                                                                                                  for a tots! credit of Z~
                  days. 1 waive and give up my right to make application for probation and reques
            (b)Sentence me to county jail, for a period of                                               t immediate sentence,
                                                                       years and          months pursuant to P.C. 1170(h),
                 credit for time served of            days- actual custody and           days of good ti melwork time for a
                 total credit of         days. I waive and give up my right to make application for probat
         ~/      immediate sentence.                                                                              ion and request
         h (c} Pronounce a divided sEntenc2 to county jail for a period of
                                                                                           years and                months [P.C.
                 1 170(h)]. The sentence is divided as follows:             years and              months incarceration . in the
                 county jail, followed by mandatory supervision for            years and               months under the terms
                 and conditions set forth on the at~ached pages 6 and 7.
            (d)Consider my applica`~on for probation befiors pronouncing sentence.
                                                                                           I understand the court may deny
                 my' a~p(~cation for probatior and senter;re me to (check one)[1 state;
                                                                                                    prison. ❑ county~jail for a
     ~,;e) Grant me probation under the terms any conditions set forth
                                                                                 on the attached pages 6 and 7 that I have
                 initialed and signed. !understand (have the right to reject probation a;~d
                                                                                                have the court impose a final
                sentence. Ho~vever, {agree to accept probation on the terms and condit
                                                                                                ions set forth on the attached
                 pages 6 and 7. f further understand that if I am found in violation of any
                                                                                                 of the terms or conditions of
                 probation, the court may ra5en~ence me to (check one} ❑state prison ❑coun
                                                                                                         ty jail in this cast for
                a maximum period of                years and          months.
     ~~fi~ Harvay~raiv~r: Ordzr me to pay restitution on counts
                                                                                   C=~ - 3                        ,even if any of
                thzse counts have been dismissed 2s part of the plea agreement,
                                                                                                           in the amount of
                                                   or in an amount to ~e determined by the Probation Department.
                d►saCree wit~`~ tie amount of restitution d~aterrnined b the Probation Department,                             If
                                                                                                          t may request a court
                hearing to de~~m~ine tea amount of restitution. ~ he sentencing court retains
                                                                                                            jurisdiction over this
                case for rzstitution pc:rposes (if box checked}.                   ~ ~ 60
         fig) Order rye to pay the mandatory state restitution fine between
                                                                                     $       and $10,000 [P.C. 1202.4]. A
                second restitt!tion fine in the same arnourit will also be orders ~f I receiv
                                                                                                   e a sentence that includes
                probation, a condiiiona! ~~ntence, manda►cry supervision, post-release
                                                                                                   community supzrvision, or
                parole. This sacond fine wi61 be suspended and I wi{I only have to pay it the
                                                                                                  if     court later finds that
                havE ~iofa;ed the germs of my probation, conditional senfience, mandatory
                                                                                                     supervision, post-release
                community supervision, or parole [P.G. X202.44 & 1202.45]. A $40.00 court
                                                                                                     security
                paid [P.C. 1465.8) as well as a X30.00 court facili!y fee [G.C. 70373] on each count fee must also be
            (h) Omer me to pay a mandatory fee of X70.00 for each count convicted. [Court                       convicted.
      `~                                                                                              Opera    tions-5 40.00-P.C.
                1465.8 and Facilities-$30.00-G.C. 70373].             ^„
      ~f ~ {   '~
               !~
                     ~r ►+..~ +
                       --1
                     ~:S.:C7
                                 ....~
                               I lIG
                                       ~.,...~...I              ..i~n ~•.4...►
                                       .V ~.iu j~ G~ i.:u~ i~.:G~~vr ~ is a1Lll ..1.
                                                                                   1...~ .+nil:           F ~ ..t Q~C.n ~/~ inr
                                                                                t~~vl ~t t~r7 ~~:i~~~.iv •iCiv ~                     ••n~'y
                                                                                                                  ~yvv.'.~~i 'i'vl ~.C'.+i i Cr
                                                                                                                                                ^.V .~:l.....J /"~r!~n i+FrOr+
                                                                                                                                             v~..   vi::'v~: vt ~.~ ~.i.v..V'
             ❑ pEus penalty assessment[H&S '11372.5 8~ P.C. 1464].                                                                                                             v~


         (j) Order me to pay a mandatory drug program fee of X150.00 for
                                                                                   each specified drug offense
             ❑ plus penalty assessment[HAS 71372.7].
     ~~~(k) Order me to provide a state DNA sample and .prints for the State DNA Datab
                                                                                       ase pursuant to P.C. 296
             and P.C. 296.1.
         (I~ Order me to provide a local DNA sample, prints and photograph to the OCDA
                                                                                        for permanent retention,
             analyses and search within any taw enforcement databases)for only law enforc
                                                                                             ement purposes.
      ~~
                                   ,,

                                                                                                                              F
      Case 8:18-cv-01821-JGB-JC Document 1 Filed 10/10/18 Page 26 of 44 Page ID #:26
CASE NO.                                              PEOPLE vs.
            (m)Or     me to register pursuant to the following: (Check a{I that apply
                                                                                      )
                ❑H       11590 (narcotics offens2~
                ❑ P.C. ~ 6.30 {gang-related offense)
                ❑ P.C. 45 1.(arson-relatzd offense)1 understand I will have to
                                                                                  regis for the rest of my life.
                ❑ P.C. 290      x offense) 1 understand I will have to register for e rest of
                 ~~hool, or resi in California                                                my life if 1. work, attend
            (n) Order that my driv s license or driving privilege be suspe
                                                                           n d or revoked for a period of

           (o)The court will order that mo ies paid will first be apply
                                                                        d to restitution; and that the following
              terms'are also past of this ple




27.        C~'C 23 93 advis~mznt: You are her y a vised That
                                                                            being under the influence of alcoF~ol or drugs, or
           both, impairs your ability to safely op ate a m or vehicle.
           l~~a t~ ~,-';v~ :~:^:le ~n~~r t;:~ r:~~e:~ ~ of a1co~:~1 ~~n:~       Therefore, it is extremely dangerous to human
                                                                          s, ci ~oih. if vo~~ continue to ~riue while under the
           inf[~ence. of alcohol or drugs, or oth, and, as a r~s~~t of
                                                                           tf~at driving someona is killed, you can be charged
           with murder.

28.        E acknowledge a(I othzr     ses pending against me in Oran e County and the proposed
                                                                                                disposition:


29.        I understand a ,ea of guilty in this case ray cons~~itutQ an admis
                                                                              sion violated a previous grant of probation,
            mandatory pervision, post-release community supervisio or
                                                                           n, par 'e in other cases and may result in
           additions enajties ~imposad in these ~c2ses.

30.       { of` r my plea of guilfy freely and voluntarily, ar~d with ful{
                                                                           understanding f ~al( maters set forth in the
         'a usatory pleading and this advisement ar~d waiver of righ
                                                                        ts form. No one ha mada any thr~ats~or used
           ny force against mej my family, or anyone else ! kno~~r, in order
                                                                             t~ convince met lead guilty in this case.
          Further, a!1 promises that have been. made tome ;o co~vinc2 mz
                                                                              to p{sad guilty are ~ this advisement and
          waiver of rights form.

31.    ~ offer the following facts as fhe b<         ~r my guilty plea:
        In •range Ccun:y, Cal;f~mi~,•n               C,~          dt v-2~
                        Gt~.f                          t ~ l S ~~~~                           Q
                                                ""            D                    ~H ~~~~                ~    Q ~'c`
                  Z                                   c~a S                           ~O ~~ C.t/1 7~v ~~l            a'I



                   Get ~'l~b ~ ~ ~~,~ ~~                                  a/ Gow,~- 1~~~a.~~                            ~~
           Case 8:18-cv-01821-JGB-JC Document 1 Filed 10/10/18 Page 27 of 44 Page ID #:27
     CASE NO.              ~~~ t ~                             PEOPLE vs.
            (m)Order me to register pursuant to the
                                                     fio(lowing: (Check all that apply)
                ❑ H8~S 1 ~ 590(narcotics offense)
              . ❑ P.C. 186.30(gang-related offense?
                   P.C. 457.1 (arson-related offensel I unde
                                                              rstand I will havQ to register for the rest of
                ❑ P.C. 290 (sex of~ense) I understand {wil                                                    my life.
                                                              l have to re~ist~r for the rest of my life
                 sehoo~, or reside in Calr`fiomia.                                                         if I work, attend
           ~(n) Order that my drive's license or driving
                                                         privilege be suspended or evoked for a
                                                                                                      period of

                (o}The court wil{ order that monies paid will
                                                              first be ap~lied to restitution; and that the
                   terms are also part of this plea:                                                        following




     27.        C4'C 23593 advisement: You are hereby
                 both, impairs your abilifiy to safely operafe advised that being under the influence of alcohol or drugs, or
                                                                  a motor vehicle. Therefore, it is extremel
                ;:~z :o ~:::~a ;~rh:!~ ~:r;d~r tha ;r~!ucnce o.                                              y
                                                                2!co~~l or d~~~~, e: both. If yo.: continue dangerous to human
                influence of alcohol or drucs, or both, and,                                               tc ~~ve while under the
                                                                  zs a result of that diving someone is killed,
                with murder.                                                                                    you can be charged
    r: ,~        acknowledge zll other cases ends;ng,.agai ~~
                                                                   nst me in Orange County and the propos
                                                                                                            ed disposition:
                              l~-r-~ - ~               o                                    D
       1~ i                                                                                              z~ I
  29. ~~ ~        Land a p1e~ of guiliy in ~~is c,~se may c~ns
        ~a~andatory su envision, post-release                  titutz n admission 1 vi ted a previous
                                                                                                        grant
~~ i~     additional penalties imposed in these case
                                                    com mun ity  supervision, or parole in other -cases and of probation,
                                                         s.                                                 ma result in~
'~`J30.
     ~~    1 offer my plea of guilty freely and voluntar
                                                          ily,
          accusatory pleading dnd this advisement and and with full understanding of tiff matters set for~h in the
                                                            waiver of rights forri. No one-has made
          any fercz against me, my fiamily, or any                                                     any threats or used
                                                     one else!knew,in order to convince me to
          Further, till promises that have been mad                                               plead guilty in this.case.
                                                       e to me to c~nvinc~ me to plead guil'ry are on
          waiver of rights fora.                                                                      this advisement and
                                                                           `~ ~-~~ (.~ ~;, ~ ~G-~~
    31.~ 1 offer the fo~lo~~~ng facts as the                                                                                 r.
                                             basis for my guilty plea:
         fn Orange County, Cafifom;a, on           ro~ZZ~      ~— ~- d-~. u~.r~,~ d~vc.
                                                                                                        e,~ f w ~~ ~
               0-~-~1. ~.r~.~:QY1   l.~~1Slf"~.~ '~i ~t~... 5~~4
                                                                 ~          n_.~►~ PAC._ ~ ✓VIC~P~I.~        c.~
                       <                      <
                                                                                    ~            ~                      ~
                                                                   i
                                                   ~       ~   ~
                               ~♦~+       ~                             ~                                ~




                                              //                   •.                   ~    ~
                                                                                  ~~                 ,
        Case 8:18-cv-01821-JGB-JC Document 1 Filed 10/10/18 Page 28 of 44 Page ID #:28


                        ~i~lSSlC~N OF PRIER CONVICTIO~iS AND PR14R PRISON TERMS
                              SUP~RlOR C~Uf~T C3F CALIF~RNiA, COUNTY OF ORANG
  DEFENDANT
                                                                                              ATTORNEY                      ~ ~               ~'1'
 1. C     ~ I understand the complalrt cr Infiorma~cn alleges fat I have sus►ain
                                                                                   ed -the following prior convlctlon(s) and prior
            terms} or executed P.C. 1170(h) sentence(s);         ~.. ~~4-_5~., •~--~~.~.-~.,;R~~,,'7~~:j c;~t.:.~ ~-~. ~.`; ~c,prison
                                                                                                                                   `c~ ~~„~ ~``
   GATE OF CONV1CT10N        COUNTY AND STATE              CASE NU~~SER                                          PRIOR ALLEGED PUSUAf~fT TO
                                                                                 CRI41E CONVICTED OF.                                                YEARS INCR~4SE IN
                                                                                                                 FOLLOWING CODE SECTION              CURRENT S~IJTENCE

     t~ /S         ~o        v -C ~ C~k                    D~~~'t~~                 C, ~~                             (o G~ (o~                             v           s

                                                                                                                                                         Z r~so   •J-       ~




                                                                            ~~                             ~'
2~ ~~~-~.,...            ......... .       ... . ...... .......... S .... ................
                    .
                    - , • ~, r. ~7~• •          • -.l-^'.•  ~C-'-• •!•
                                                                                               .........        Total Increase fn Sentence           ~.
                                                                         J'~ •_.1, ".'
                         r` ~ t~   f     i r'1 z   ~   t ~-: s ~.,..~-t !       i s1 ~„   :. ~-'.•'~
                                                                                       ..nom         'f}
                                                                                                   s ~ Y a~ ~-".'/:
                                                                                                            r ~ ~-t f1~ . i` i'l t~- . --    ~ r-J
                                                                                                                                   --V C z•3 ~ ~-- --~
 3. ~           I understand tF~at if I admit the prior convict~on(s) and pricy prison terms)
                                                                                               set forth In paragraph 1 of this form, my
                admission will have the effect on my sentence 2s indicated on line 2, the
                                                                                              reverse side of this form or as set forth below,
                offer this form as a factual basis for my a~mission(s}.

                (a~~ (~~~=~~7 Ot~rS~NTn~CE OTH~TH/~tJ THAT 1~D(CATcD ON
                           _, ~                                         UNE 2 /~.ND REVERS'c SIDE OF FORM]




4.~~ I unders~nd that 1 have the r(ghi to t~ repres?~te~+
                                                                by ~n attorney at all stages of u`~e proceedings un61 the
     terminated and that ]f I cannoi arford an attorney, one will be appointed                                                case Is
                                                                                    free of charge.
5.~ I understand that I have the follo~ving rights: (1 y right to a
                                                                    jury trial; (2) right to con5-ont and cross-examine witness
     right to testify or not testlfy as I so c~~oosa: (4) right bo call ~rritnesses                                             es; (3J
     compulser~r process to subpoena those witnesses. I hereby waive aid               to test~ffy on my behalf and to use the court's
                                                                                  give up each and every one of these rights.
6. ~~ I hereby admit that I h2ve susfair.sd the prior cenvic;fo~(s)
                                                                     and prior prls~n or execL~ted P.C. 1170(h~ terms) set forth
        in this form and as alleged in the complaint or Information.                                                             both
7.~c..Y I further ac!mit the: for each prior convi~on alleged pursua
                                                                      nt to Peral Code Section 667.5(5) I served a separate
        term, cr executed ~en~~nce pursuant to Penal Code sociion 11iutn~, and                                                 prison
                                                                                     wiinin fr~~ (5 j years or ~~y reitase                                    ~-~m cusio~y
                 comniltted a new offense resulting in a felony convlcJon.
8.____2        I offer my admissions) freely and vofunt~rily and with full understanding
                                                                                         of ail tie matters set forth (n the information and
               in this form. No one has made any threats, used any force against myself,
                                                                                           family or loved ones, or made any promises to
               me except as set out in th!s form.
9.~ I have personally Initialed each of the above boxes and
                                                              discussed them with my att~mey. I dacfare under penalty
    perjury that the foregoing (s true and correct. The signing and filing                                            of
                                                                           of this form Is CONCLUSIVE EVIDENCE I have
    admitted to the enumerated ci-~arges herein.

EXECUTED at             S~~                ~ ~'                ~              - -    ~ ,California
DATED:       ~ f Z6 ~ ~~                               Defendant's signature;           ~                       ~%`t^'~         --
DEFENDANTS ATTC~N~Y ONLY - lam a~omey of record and I have
                                                                             explained ea,:h o` the above rights ~ the defendant, and
fac!s wi`.h himh~er and- stvcied his;t;cr ~cs.;tble ~efens~:s tc the                                                                    having explored tt:e
                                                                     char~e(s), ~ ~cancur in h,sJ~er decision to waive each of
hislher prior convlc:Ior(s) end poor Frs~n terrr(s). I further s~pulate this-                                                  the above rights and to admit
                                                                                 docume
advisement and volun:ar~, knowing and in;elllyent waiver of each cf ;he abcve ri6htsnt rr,ay be received by the court es evidence of the defendants
Permanent record of the ad~~lszrnenti, waivers, and admissio;~(s).                   and his/her adrnlssicn;s) end that It shall be filed by the clerk
                                                                                                                                                       as a

DATED:          I ~ ~' C—'l ~ ~~t!cr;; rs si~nr~t;re:~---~~
                                                                                                                ~~
                                        ~l ~ _ ~.
Case 8:18-cv-01821-JGB-JC Document 1 Filed 10/10/18 Page 29 of 44 Page ID #:29




          2.        Effect on sentence:


          {P.C. § 657) For poor ranvic~an~s) allege pursuant to Penal
          sentence to State Prison Yrill be increased by 5 years for Code Sectlon 667, my currant
                                                                              each such prior canvict~on.
         (P.C. § 6o7.5(b)) For prior gnvicction(s) alleged pursua
                                                                        nt to Penal Cc~e Sectlon 667.5~b), my
          current sentence to State Prison maybe increased
                                                                     by 1 year for each such prior convic.~~n
         for which I served a separate prison term 2nd w~.hin 5
          custody cammitad a new offense which resulted                      years of ray release from prison
                                                                   In a felony c:onvic*,ion.
         (H8S § 11370.2) For prior convictlon(s) alleged pursuant
                                                                            to Health aid Safety Code Sedan
          11374.2, my current sentence to St2ta Prls~n may be lncre~,
                                                                                 sed by 3 year for each prior
         f~10.^.Y C^v~1':~C~.^.n for a ~nU~aile~ S1+~8'~
                                                         u^w ::a~:^~
                                                                  :~}••'~•~i'i9~ :^ u^-.~~ S^:~.i~^.:1.
       Case 8:18-cv-01821-JGB-JC Document 1 Filed 10/10/18 Page 30 of 44 Page ID #:30
CASE ISO.         ~ 'I ~'''~~L~S~                            PEOPLE vs.

 32.         I understand each and every one of the rights set forth above in
                                                                                 this advis
               waive -and give up each of those rights in order to enter my guilty plea. ement and waiver of rights form.
               am in fact guilty and for no other reason. I declare under penal           I am entering a guilty plea because
                                                                                 ty of perjury I have read, understood, and
             personally initialed each numbered item above, and 1 have discu
                                                                                    ssed them with my attorney. 1 declare
             under penalty or perjury everything on this form is true and correct.
             this form is conclusive evidence I have pled guilty to
                                                                                       I understand the signing and filing of
                                                                               the charges listed on this advisement and waive
             rights form.                                                                                                      r of

            Executed in Orange County, California.

             Dated: ~ l2— ~~(~                          Signed•                              ~lLtr"
                                                                                                Defendant
33.         DEFENSE ATTORNcY'S STATE~`~9ENT:                          I am thz attorney of record for the defendant. l have
            to defendant each of the rights set north on phis fiorm. f have                                                             explained
                                                                                             discussed the charges and the facts with the
            defendant. I have studied the possible defenses to t`~e charg
                                                                                           es~and discussed #hose possible defenses with
            defendant. I have discussed thz poss;ble sentence range
                           .a~S   ~.,-~.{
                                                                                        s and  immigration consequences with defendant.
             ~ ~~SJ ~ u v VI 4'.~JJC + _;~c
                    'lo~ra                  Cz    ~ f~ nr     +~,~c
                                                           vi •~ ~.v ~.J~ ~~~ ~t~~~}
               d                          v  ~+I IlC''i~1~          f/~rrT1
                                                                                  ~.~ f{a~onrla. t. ~ ~vriC~:~ ;Al~t:l f~AferdSr!t'&
             waive the rights set forth on this form and to plead                                                                    ~~!~IS!0~1 t0
                                                                                       guilty. No promises of a particular sentence
            sentence recommendation have been made to defendant by                                                                              or
                                                                                              me, or to my knowledge by the prosecuting
             attorney or t' he court, which have not been fully disclosed
                                                                                            on this form. 1 agree that this form may be
             received by the court as evidence ofi defendant's advis
                                                                                          ement and .voluntary, intelligent, knowing, and
            express waiver of the rights set forth on this form.

            Dated: 1.f~--~( j~~'"                       Signed:
                                                                                                  Attorney
34.         INTERPRETER'S STATEi`J{ENT: 1,
                                                                                        ,having been duly sworn as a court
            certified/rzgis.ered/provision~(ly qualifed interpreter, state that
                                                                                I am fluent i~ the
            language. 1 translated the contents of tE~is form to defendant
                                                                             in that Iznguage.
            Dated:                                      Signed:
                                                                   Interpreter
35.         FOR THE ~EC3PL~o

            Dates:      ~~         ~                   Signed:
                                                               ~~,
                                                               ~:, Deputy District Attorney
                                                                                 •=
            Plea to the Court                                      ~ ~~ U -~~ =~~ t~ ~ ~ ~c ~ ~,                                            7 t,


                                                                                                                          .~~.d
                                d~~.~          s f~.~ ~
                                                                    ,•Q~, ~~
                                                                   ~ u
                                                          ~ ~~~ l
       Case 8:18-cv-01821-JGB-JC Document 1 Filed 10/10/18 Page 31 of 44 Page ID #:31


                                                                      ..            ._    COURT OF APP~~DTM FIST DlV 3                      ~C_275
  Name:-~~ l ~~~~ ~ ~_~'C ~Q(~.a~..~                                                                  F
  Address: ~Q 1~Ir'~C_~~~cz ~                ~1r'O~~b o~t1~ ~CA c-~r ttf~
                                                                                                    JUL .0 2018
                 PCB GCx~'~s~
                                                                                                                 Depu1Y Clerk


  CDC or ID Number:


                                               a ~Q x ~zc~s~
                                           SC1      ~G~ ~~~J
                                                           ,~~~~QZ


                                                                      (court)       ~~("1 E~2GCN
                                                                                                       C~'
                                                                                    PETITION FOR WRIT OF HABEAS CORPUS
 '~ Petitioner                                                                                      ~r ~,
                                                                              No.                ~ ~,,.. ~     ~~
                                 vs.
                                                                                         (To be supplied by the Clerk o     e       urt)
 ' Respondent


                                            INSTRUCTIONS—READ CAREFULLY
    • If you are challenging an order of commitment or a criminal conviction and are filing this
                                                                                                 petition in fhe
      Superior Cour:, you should fife if in the county that made the order.

    • !f you are challenging the conditions of your confinement and are filing this
                                                                                    petition in the Superior Court,
      you shc~ul~ file it in the county in rrvhich you are confined.


• Read ttie entire fora; before answering any questions.

• This petition must be clearly handv~~ritten in ink or typed. You should exercise care to make sure all answers
                                                                                                                 are true and correct.
  Because the pztition includes a verification, the making of a statement ;hat you know is false may result in
                                                                                                               a conviction. for perjury.
• Answer all applicable questions in the proper spaces. If you need additional space, add an extra page
                                                                                                        and indicate that your
  answer is "continued on additional page."

• If you are filing this petition in the superior court, you only need to file the original unless local rules require
                                                                                                                       additional copies. Many
  .courts require more copies.

• If you are filing this petition in the Court of Appeal in paper form and you are an attorney, file the original and 4
                                                                                                                        copies of the petition
  and, if separately bound, 1 set of any supporting documents (unless the court orders otherwise by local rule or
                                                                                                                        in a specific case). If
  you are filing this petition in the Court of Appeal electronically and you are an attorney, follow the requirements
                                                                                                                         of the local rules of
  court for electronically filed documents. If you are filing this. petition in the Court of Appeal and you are not
                                                                                                                    represented by an
  attorney, file the original and one set of ar~y supporting documents.

• If you are filing this p~titi~n in the California Supreme Court, file the original and 10 copies of the petition and, if
                                                                                                                           separate~y bound,
  an original and 2 copies of any supporting document.                           .. ~ .
• Notify the Clerk of the Court in writing if you change your address after filing your petition.


  Appro~Jed by the Judicial Council of California for use under rule 8.330 of the California Rules of Court (as amended
                                                                                                                        effective
  January 1, 2007 . Subsequent amendments to rule 8.380 may change the number of copies to be furnished to the
                                                                                                                      Supreme Court
  and Court of Appeal.


                                                                                                                                             Page 1 0(~
Form Approved forOpfionalUse                PETITION FOR WRIT OF H~,BEAS CORPUS
Judicial Council of California                                                                                               PenalCode,§1473atseq.:
                                                                                                                           Cal. Rules of Caurl, rule 8.360
MC-275(Rev. January 1. 201
                                                                                                                                       www.couRs.ea.gov
            Case 8:18-cv-01821-JGB-JC Document 1 Filed 10/10/18 Page 32 of 44 Page ID #:32
                             SUPERIOR C011RT OF= TH`~7ATE OF CALIFORNIA,
                                         COUNTY OF ORANGE

                                                     ~~~~TE~
 Case : ~ 7WF1454 F A
 Narr~~ : Gould, Steven Eric
 Cate of Seq
 ,~~ction Nbr Code            Text

 07/06/17        1 FLDOC .   Original Com{~laint filed on 07/06!2017 by Orange
                             County District Attorney.
                 2 FLNAM     Name filed: Gould, Steven Eric
                 3 FLCNT     FELONY charge of 2800.2 VC filed as count 1. Date. of
                             violation: 06/22/2017.
                4 FLCNT      FELONY charge of 2800.4 VC filed as count 2. Date of
                             violation: 06/22/2017.
                5 FLCNT      MISDEMEANOR charge of 20002(a) VC filed as count 3.
                             Date of violation: 06/22/2017.
                6 FLPRI      667(d)/(e)(1)&1170.12(b)/(c)(1) PC dated 11105/2000,
                             Case # OOWF1974 filed as prior # 1.
                7 CLADD      ~t the request cif People, case caiendared on
                             67/06/2017 at 10:00 AIVI in CJ1 for ARGN IC.
                8 F1959      Accusatory pleading -filed by the prosecGtor pursuant to
                             Penal Code section 959.1.
                g T~~~~~     ~::~~s~~E ~~r ~o~~c;~~ ~e~es ~~c~~~,~s~ from Grange
                             ~=;: ~j~.~ ~i;~rd~f De~ar~irir:n~ irr the amount of $235.00,
                             c~~~~ of ar-r~st d~/2212017.
               10 FXBKF      Request for Booking Fee received, entered in error.
               12 DSTUP      Defendant's release status updated to reflect: In Custody.
               13 DFNPR      Department of Motor Vehicles check returned no
                             assessable priors for this defendant.
               14 HHELD      ~i~aring held on 07/Oo12017 at 10:00:00 AM in                                   i~
                             Department GJ1 for Arraignment In Custody.
               15 OFJUD      Judicial Officer: Vickie Hix, Commissioner
               16 OFJA       Clerk: L. Mejia
               17 OFBAL      Bailiff: F. Gutierrez
               18 OFREP      Court Reporter: Bobette Webb
               19 APDDA      People represented by Joseph John Koller-Nielsen,
                             Deputy District Attorney, present.
               20 APDPP      Defendant present in Court in propria persona.
               21 ADDRS      Defendant rzquests that he be allowed to represent
                             himself.
               22 FIFWV      Faretta Waiver filed.
               23 ADPPP      -The perils, pitfalls, dangers, and disadvantages of
                             self-representation.

Name: Gould, Steven Eric                                                                    Case: 17WF1454 F A
Page 1 of 15                               MiPVUTES /ALL CATEGORIES                              8/4/17 8:41 am
           Case 8:18-cv-01821-JGB-JC Document 1 Filed 10/10/18 Page 33 of 44 Page ID #:33
                           SUPER{OR CURT OF THE STATE OF CALIFORNIA,
                                      COUNTY OF ORA~lGE

                                                 !~f I iV UT~S
Case : 17WF1454 F A
Name : Gould, Steven Eric
Gate of . Seq
Action Nbr Code             Text

07/06/17       24 ADMAX     Defendant advised of maximum possible sentence.
               25 TEXT      Defendant's motion to represent himself Propria Persona
                            is granted.
               26 FIORD    Order Granting Propria Persona Privileges signed and
                           filed.
               27 TEXT     Pro Per packet given to defendant.
               28 PLNGA    To the Original Corn taint defendant pleads NOT
                           GUILTY to ell counts.
               29 DFDNP     Defendant denies all priors) as set forth.
               30 CLSET    F're 1'riat set on 07/ 4/2017 at 08:30. AM in Department
                           Vl12.
               31 CLSET    Prelirninaoy Haring set on 0711 H/2017 at 08:30 AM in
                           Department V112.
               32 DFOTR     Defendant ordered to appear.
               33 TEXT     Public Defender- has handed discovery bask to the District
                           Attorney. Distric~ Attorney will redact discovery and
                           forward the redacted discovery to the defendant.
               34 FIFPC     Fingerprint card is received and filed.
               35 COBRR    The Pre-Trial Services Officer's bail recommendation and
                           comments, as reflected on the Court List, were made
                           available to the Court and counsel at the hearing. Copies
                           of the Court List will be retained by the Pre-Trial Services
                           Unit.
               36 BLSET     Court orders bail set in the amount of $20a, 000.00. .
               37 DFREM     Defendant remanded to the custody of the. Sheriff.
               38 NTJAL    i~atice to Sheriff issued.
               39 TEXT      Reference case# 17CF1590
07/14/17        1 HHELD     Haring held an 07/14/2017 at 08:30:00 AM in                                    ~f~


                            Department W2 for Pre Trial.
                2 OFJUD     Judicial Officer: Kevin Haskins, Judge
                3 OFJA      Clerk: D. Phillips
                4 OFBAL     Bailiff: M. Kiemle
                5 OFREP     Court Reporter: Carol Denevan
                6 APDDA     People represented by Steven William Bunn, Deputy
                            District Attorney, present.
                7 APDNC     Defendant not present in court.

Name: Gould, Steven Eric                                                                  Case: 97WF1454 F A
Page 2 of 15                              N1INUTES /ALL CATEGORIES                             8/4/17 8:41 am
             Case 8:18-cv-01821-JGB-JC Document 1 Filed 10/10/18 Page 34 of 44 Page ID #:34
                             SUPERIOR COURT OF.THE 5Ti4TE OF CALIFORNIA,
                                         CC)UNTY CAF Oi~ANGE
                                                  Ii~tIVUTES
  Case : 17WF1454 F A
  Name : Gould, Steven Eric
  Dates of     Seq
  Action       Nbr Code       Text

 07/14/17        8 PRJLT      Defendant was not transported to court due to an ~~
                              indicent that occured during transportation this
                              r~norning.
                 9 TRPRS     People submit(s).
                10 CLPTP     Pretrial o~'f calendar, Preliminary Hearing set on
                             07/18/2017 at 08:30 AIVI in 1N2 to remain.
                11 DFOTR
                                                                                         ` `~/ro1~1-~'
                                                                                                    ~ . v .-~     :~ r  -~~
                             Defendant ordered to appear.                                   t        n                 ff

                12 BLSTR     Current bail set for Defendant to remain at $200, 000.00.
                                                                                                                  .~
                13 DFREM     Defendant remanded to the custody of the Sheriff.                           __ _ ,             ,
                14 NTJAL     I~oti~e to SP~eriff issued.
                15 C~!OTEA   Day 10: 7/20/2017
                             Day 60: 9/512017.
07/18/17         1 HHELD     Hearing held on 07/182017 at 08:30:00 AM in                                                    ~r~;
                             D~part~nent VIi2 for Preliminary Haring.
                 2 OFJUD     Judicial Officer: Kevin Haskins, Judge
                 3 OFJA      Clerk: D. Phillips
                 4 OFBAL     Bailiff: M. Kiemle
                 5 OFREP     Court Reporter: Lisa De Los Reyes
                 6 APDDA     People represented by Kimberly Fletcher, Deputy District
                             l~ttorney, przsent.
                 7 APDPP     Defendant present in Court in propria persona.
                 8 FIAMD     First ,►mended Complaint filed by Orange County
                             D6strict Attorney.
                 9 CTADE     First Amended Complaint now charges to ADD
                             ENHANCEMENT of 12022.1(b) PC as to count 1, date of
                             violation: 06/22/2017.
                10 CTADE     First Amended Complaint now charges to ADD
                             EfVHANCEMENT of 12022.1(b) PC as to count 2, date of
                             violation: 06/22/201~7.
                11 CTADE     First Amended Complaint now charges to ADD
                             ENNANCEME~JT of 12022.1(b) PC as to count 1, date of
                             violation: 06/22/2017.
                12 CTADE     First Amended Complaint now charges to ADD
                             ENHANCEMENT of 12022.1(b) PC as to count 2, date of
                             violation: 06/22/2017.
                13 CPACK     Counsel acknowledges receipt of the charging document.

Name: Gould, Steven Eric
                                                                                                Case: 17WF1454 F A
Page 3 of 15                              II~INUTES /ALL CATEGORIES                                      8/4/17 8:41 am
           Case 8:18-cv-01821-JGB-JC Document 1 Filed 10/10/18 Page 35 of 44 Page ID #:35
                          Sl1t~EI~tOR COIJ~T OF THE STATE OF CALIFORNIA,
                                         COUfVT~( OF ORAiVGE
                                                   ~~~~~~~
 Case : 17WF1454 F A
iVame : Gould, Steven Eric
 Da#~ o€ S~q
 Action ~ Nbr .Code        Text

07/18/17       14 ADANC    Court advises the defendant as to the nature of the
                           charges.
               15 PLNGA    To the First ~m~nded Complaint defendant pleads `~~ ~~~}~r"~_s~~ ~ :~ ~-s ~:~_..~.•~~;
                           NOT GUILTY to all- counts.                      ~~           ~ ~~        -~
               16 DFDNP    Defendant denies all priors) as set forth.                   ~r~~,~~~,~,.~ ;y           .` _.:     .;
               17 DFDNE    Defendant denies all enhancements.
                                                                                                                     ~'~' c
                                                                                         i s ~ ~_ ..   a r_ .:
               18 TRPDR    Case called. People answer ready. Defense answers
                           ready.
               19 CLRSN    Preliminary Hearing reassigned for 07/18/2017 at
                           ~ 1:23 ANi in Dzpartment W9, Judge Lance Jensen,
                           Time estimate: '1 1/2 hours.
               20 DFOTR    Defendant ordered to appear.
               21 HHELD    Hearing held on 07/18/2017 at 1'I:23:00 AM in                                             ,~~~
                           Department UV9 fir Preliminary Hearing.
               22 OFJUD    Judicial Officer: Lance Jensen, Judge
               23 OFJA     Clerk: J. Hart
               24 OFBAL    Bailiff: IVI. Nichols
               25 OFREP    Court Reporter: Darci Mullarky
               26 APDDA    People represented by Steven William Bunn, Deputy
                           District A.tt~rney, present.
               27 APDPP    Defendant present in Court in propria persona.
               28 TEXT     Court inquires of People if there are any addtitional
                           amendments or interlinations to the complaint.

                           People state there are no further amendments or
                           interlinations.
               29 TEXT     Court addresses Defendant regarding his intention to file
                           a Motion to Supress Evidence pursuant to PC 1538.

                           Defendant requests to make an oral motion.

                           People request a v►iritten motion.




Name: Gould, Steven Eric                                                                         Case: 17WF1454 F A
Page 4 of 15                              ~IiIF~UTES /ALL CATEGORIES                                      8/4/17 8:41 am
$/13/2018   Case 8:18-cv-01821-JGB-JC
                                ~     Document 1 Filed  10/10/18 Page 36 of 44 Page ID #:36
                                                   Law section




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                PART 2. OF CRIMINAL PROCEDURE [681 -1620] (Part 2 enacted 1872.
                     TITLE 3. ADDITIONAL PROVISIONS REGARDING CRIMINAL PROCEDURE [777 - 883] (Heading of Title 3 amended by
             Stats. 1957, Ch. 1674.)



             CHAPTER 4. The Warrant of Arrest[813 - 829] (Chapter 4 enacted 1872.)

             823• (a)(1) Except as provided in paragraph (2), the defendant shall in all cases be taken before the magistrate
             without unnecessary delay, and, in any event, within 48 hours after his or her arrest, excluding Sundays and
             holidays.
            (2) When the 48 hours prescribed by paragraph (1) expire at a time when the court in which the magistrate is
            sitting is not in session, that time shall be extended to include the duration of the next court session on the judicial
             day immediately following. If the 48-hour period expires at a time when the court in which the magistrate is sitting
             is in session, the arraignment may take place at any time during that session. However, when the defendant's
             arrest occurs on a Wednesday after the conclusion of the day's court session, and if the Wednesday is not a court
             holiday, the defendant shall be taken before the magistrate not later than the following Friday, if the Friday is not a
             court holiday.
            (b) After the arrest, any attorney at law entitled to practice in the courts of record of California, may, at the request
             of the prisoner or any relative of the prisoner, visit the prisoner. Any officer having charge of the prisoner who
             willfully refuses or neglects to allow that attorney to visit a prisoner is guilty of a misdemeanor. Any officer having a
              prisoner in charge, who refuses to allow the attorney to visit the prisoner when proper application is made, shall
             forfeit and pay to the party aggrieved the sum of five hundred dollars ($500), to be recovered by action in any
             court of competent jurisdiction.
            (Amended by Stats_2003, Ch. 1T9, Sec_ 66. Effective January Y, 2004.)




                                                                                                                                                 1/1
 h ltp://leginfo.legislature.ca.gov/faces/codes_displaySection.xhtml?sectionNum=825.&IawCode=PEN
Case 8:18-cv-01821-JGB-JC Document 1 Filed 10/10/18 Page 37 of 44 Page ID #:37




                       COURT ~F APPEAL OF THE STATE OF CALIFORNIA
                           FOR THE FaURTH APPELLATE DISTRICT
                                       DIVISION 3


  In i-e STEVEN ERIC GOULD on Habeas Corpus.

 CASE NUMBER:                 G056519
 NOA ~nET DATE:               07/03!201 S
 STA~i uj:                    active
 PRIORITY':                   r.~b~l
 CAUSE:                       Original Proceeding
 CASE TYPE:                   Criminal
 DISPO DATE:
 ri1v~L ~t ISt~:
 ORIGIN:                      Superior
 CATEGORY:                    he                Habeas corpus
 RELATED CASES:

                 TRIAL COURT INFORMATION


 Case No:                      l 7tiVF144
 C011ilty:                     DI'~iIl~e
 Court:                        Oraiigc County Superior Court - Main
 Judge:                        P~1~111, Cj7~I'1 T.
 Jud. Date:




G056519 ~s of July 23, 2013
Case 8:18-cv-01821-JGB-JC Document 1 Filed 10/10/18 Page 38 of 44 Page ID #:38




 G056519
 In re STEVEN ERIC COULD on Habeas Corpus


 Superior~Court of Oi-allge County

 Appellate Defenders, Inc.
 District Attonley
 Deparhnent of Go~-~-ections



 Office Of The Disn~ict ~tto~-ney
 401 Civic Center• Brive West
 Santa Ana, CA 92701


 The Superior Court of Orange County
 Athl: Hoi~. Cheri T. I~ham Dept. C-4~
 700 Civic Center Drive West
 Santa Aria, CA 92701


Steven Eric Gould
CDC #: BE5607
Gon•ectional Ti-ain~n~ ~acil~ty
PO BOX 689
Soledad, CA 93960


Office Of The State Attorney Gei~ei-al
P O Box 85266
San Diego, CA 921 ~b-5266
Case 8:18-cv-01821-JGB-JC Document 1 Filed 10/10/18 Page 39 of 44 Page ID #:39
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                                                               F.ie~tr~i:i~alJl FII.EI~ on S;9;2~'? 1 S b~' At. Gasiune.d:►. Deputy- Clerk




             IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                              FOURTH APPELLATE DISTRICT

                                      DIVISION THREE                                 ~                                                              ,

                                                    G056519
  In i-e STEVEN ERIC G~ULD
                                                    (Super. Ct. ~v o. 17~VF1~~4)
         nn HaUeas Corpus.
                                                    ORDER


         THE C'OUR~':~
         Thz petition fora «~~-it of 1labeas corpus is DENIED.




                                                   MOORS, ACTING P. J.

  * Before Moore, Acting P. ,I., Fybel, J., and Goethals, J.
       Case 8:18-cv-01821-JGB-JC Document 1 Filed 10/10/18 Page 40 of 44 Page ID #:40




Date: August 20,2018

To: Inmate Gould,BE5607,OW-224

Subject:     In response to your request to have additional document copied for the court on or around
             8/20/2018

 S. Gould:

 On or axound 08/20/2018, at approximately 0800 hours, while attending Law Library, you requested thirteen
(13) copies of a Petition for Review for the California Supreme Court. You stated that those copies were
 required by the court. Upon review, available resources only allowed for three (3) copies to be provided,
 which should be sufficient to serve a copy on all involved parties in your action.

 This letter is provided to make the court aware as to why you may have not submitted all copies which may
 be required by the court.




 M. Colvin, Senior Librarian
 Correctional Training Facility
 California Department of Corrections and Rehabilitation




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                                                                                            ~u~ 2z ~o~a
                                                                                       CLERK SUPREME COURT
    Case 8:18-cv-01821-JGB-JC Document 1 Filed 10/10/18 Page 41 of 44 Page ID #:41

a




                                           Declaration of Service


     Re:    Case dumber: ~2~~783
     Title: GOULD(STEVEN ERIC)ON H.C.


             I hereby declare that I am a citizen ofthe United States, am over 18 yeazs of age, and am
     not a party in the above-entitled action. I am employed in the County of San Francisco and my
     business address is 350 McAllister Street, San Francisco, CA 94102.

         I served the attached document described as a Petition for Review on the parties in the above-
     named case. I did this by enclosing true copies ofthe document in sealed envelopes with postage
     fully prepaid thereon. I then placed the envelopes in an U.S. Postal Service mailbox in San
     Francisco, California, addressed as follows:


     Office ofthe State Attorney General
     600 W Broadway Ste 1800
     P. O. Box 85266
     San Diego, CA 92101

     Court of Appeal
     Fourth Appellate District, Division Three
     601 W. Santa Ana Blvd.
     Santa Ana, CA 92701

     Superior Court of Orange County
     Central Justice Center
     70.0 Civic Center Drive West
     Santa Ana, CA 92701



           I, Tao Zhang, declare under penalty of perjury that the foregoing is true and correct.
     Executed on August 22, 2018, at San Francisco, California.




                                                         Tao Zhang, Assistant Deputy Clerk
Case 8:18-cv-01821-JGB-JC Document 1 Filed 10/10/18 Page 42 of 44 Page ID #:42

                                                                            SUPREME COUR'~'
                                                                              ~ I LED
       Court of Appeal, Fourth Appellate District, Division Three - No. G056519 S EP 26 2018
                                                                          Jorge Navarrete Clerk
                                        5250783
                                                                                  Deputy
        IN THE SUPREME COURT OF CALIFORNIA
                                        En Banc


                   In re STEVEN ERIC GOULD on Habeas Corpus.


       The petition for review is denied.




                                                       CANTIL-SAKAUYE
                                                          ChiefJustice
Case 8:18-cv-01821-JGB-JC Document 1 Filed 10/10/18 Page 43 of 44 Page ID #:43
        STEVEN[/Z~c 6o~n~D
                                                                                                                        ~"
        BE56o~                                                                                                          z

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Case 8:18-cv-01821-JGB-JC Document 1 Filed 10/10/18 Page 44 of 44 Page ID #:44


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